Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 1 of 84




                        Exhibit 7
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Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 2 of 84




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF LOUISIANA

    ______________________________________
                                          )   MDL No. 2592
    IN RE: XARELTO (RIVAROXABAN)          )
    PRODUCTS LIABILITY LITIGATION         )   Judge Eldon E. Fallon
    ______________________________________)




                            EXPERT REPORT
                         DAVID A. KESSLER, M.D.
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 3 of 84




                              TABLE OF CONTENTS
I.       QUALIFICATIONS……………………………………………………………………....5
II.      FDA REGULATIONS REQUIRE THAT A MANUFACTURER MUST IDENTIFY IN
         THE WARNINGS AND PRECAUTIONS SECTION ANY LABORATORY TEST
         HELPFUL IN RECOGNIZING PATIENTS WITH ADVERSE REACTIONS…………8
III.     SERIOUS BLEEDING IS AN ADVERSE EVENT ASSOCIATED WITH THE USE OF
         XARELTO………………………………………………………………………………...9
IV.      THERE IS VARIABILITY IN DRUG PLASMA CONCENTRATION LEVELS IN
         PATIENTS TAKING XARELTO……………………………………………………….10
V.       THERE IS A RELATIONSHIP BETWEEN XARELTO PLASMA CONCENTRATION
         LEVELS AND PROTHROMBIN TIME (PT)…………………………………………..11
VI.      AS OF AUGUST 2011, THERE IS A RELATIONSHIP BETWEEN PT LEVELS AND
         THE RISK OF BLEEDING…...…………………………………………………………15
VII.     MEASURING A PT LEVEL IN A XARELTO-TREATED PATIENT CAN BE
         HELPFUL IN IDENTIFYING PATIENTS AT RISK FOR SERIOUS ADVERSE
         EVENTS BASED UPON A PATIENT’S RESPONSE TO XARELTO………………..17
VIII.    THERE IS A LABORATORY TEST TO MEASURE PT LEVELS IN XARELTO-
         TREATED PATIENTS………………………………………………………………….17
IX.      WHILE MEASURING A PT LEVEL IN A XARELTO-TREATED PATIENT CAN BE
         HELPFUL IN IDENTIFYING PATIENTS AT RISK FOR SERIOUS ADVERSE
         EVENTS BASED UPON A PATIENT’S RESPONSE TO XARELTO, IT DOES NOT
         ALLOW A PHYSICIAN TO TITRATE THE DOSE IN SUCH PATIENTS. RATHER,
         IT ALLOWS A PHYSICIAN AND A PATIENT TO DECIDE WHETHER THE
         PATIENT SHOULD CONTINUE XARELTO THERAPY…………………………….19
X.       CHRONOLOGY OF FDA’S STATEMENTS INCLUDING LABEL NEGOTIATIONS
         BETWEEN FDA AND THE XARELTO SPONSORS…………………………………21
XI.      THE SPONSORS FAILED TO “IDENTIFY ANY LABORATORY TESTS HELPFUL
         IN FOLLOWING THE PATIENT’S RESPONSE OR IN IDENTIFYING POSSIBLE
         ADVERSE REACTIONS.”……………………………………………………………...30
XII.     WHILE FDA’S STATEMENTS REGARDING PRECISION DOSING WITH THE
         NOVEL ORAL ANTICOAGULANTS HAVE VARIED OVER TIME, IT IS THE
         PURVEYOR OF A DRUG, NOT THE FDA, WHO HAS PRIMARY
         RESPONSIBILITY FOR THE SAFETY OF ITS PRODUCT………………………….31
XIII.    INFORMATION ABOUT LABORATORY TESTS THAT COULD BE HELPFUL IN
         IDENTIFYING PATIENTS AT INCREASED RISK OF BLEEDING FROM
         XARELTO USE WOULD BE USEFUL INFORMATION FOR PHYSICIANS IN
         CLINICAL DECISION-MAKING……………………………………………………...35

                                        2
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 4 of 84




XIV. MINIMIZING RISKS……………………………………………………………………42
XV.        POST-MARKET EVIDENCE FURTHER INDICATES NEED TO IMPROVE SAFETY
           OF XARELTO FOR PATIENTS VIA A HELPFUL LABORATORY TEST………….43
XVI. THE USE OF INRATIO IN THE ROCKET CLINICAL TRIAL………………………52

XVII. CONCLUSIONS………………………………………………………………………...80


                                                  APPENDICES
Appendix A          Curriculum Vitae
Appendix B          Prior Testimony & Expert Witness Fee
Appendix C          Published Articles on FDA Issues
Appendix D          Materials Provided


                                                  SCHEDULES1
Schedule 1          Description of Approved Anticoagulant Drugs
Schedule 2          List of Indications for Xarelto
Schedule 3          Xarelto (Rivaroxaban) – The Product and Its Regulatory History
Schedule 4          Summary of All Xarelto Label Changes
Schedule 5          Summary of Label Changes Regarding Bleeding Risk
Schedule 6          Summary of Mechanism of Action for Xarelto
Schedule 7          Description of Clinical Trials for Xarelto
Schedule 8          Deposition Excerpts
Schedule 9          List of Advisory Committee Materials Concerning Xarelto
Schedule 10         Sponsors’ Key Employees Cited in Report
Schedule 11         Chronology Based on Section X
Schedule 12         List of Bellwether Plaintiffs


1
    The schedules were prepared by legal staff at my direction and under my review.

                                                           3
 Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 5 of 84




Schedule 13   Data on Inter-patient Variability Associated with Approved Xarelto Indications
Schedule 14   Anticoagulants and the Clotting Cascade
Schedule 15   Description of Coagulation Testing Parameters
Schedule 16   The FDA Approval of New Drugs
Schedule 17   Chronology of INRatio Performance Issues in ROCKET
Schedule 18   Excerpts from FDA Reviews Concerning Dose Selection and Time in Therapeutic
              Range in ROCKET

Schedule 19   Post-Market Epidemiology Study Strengths and Limitations Identified by Study
              Authors

Schedule 20   Table 12 from FDA ROCKET AF Reanalysis Reviews




                                              4
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 6 of 84




  I.   QUALIFICATIONS

       1.      My name is David A. Kessler, M.D. I received my M.D. degree from Harvard

Medical School in 1979 and my J.D. degree from the University of Chicago Law School in 1978.

       2.      I did my pediatrics training at Johns Hopkins Hospital.

       3.      In 1990, I was appointed by President George H. W. Bush as Commissioner of the

United States Food and Drug Administration (“Commissioner”) and was confirmed by the United

States Senate. I also served in that position under President William Jefferson Clinton until

February 1997.

       4.      I have taught food and drug law at Columbia University Law School, and I have

testified many times before the United States Congress on food, drug, and consumer protection

issues under federal and state law. Over the last thirty years, I have published numerous articles in

legal, medical, and scientific journals on the federal regulation of food, drugs, and medical

devices. I have had special training in pharmacoepidemiology at Johns Hopkins Hospital. My

resume is attached as Appendix A. A list of cases in which I have appeared as an expert witness

in the last four years, and documentation of my expert witness fee, is attached as Appendix B. A

list of my published articles relating to FDA issues, including devices and drugs, is attached as

Appendix C.

       5.      As Commissioner, I had ultimate responsibility for implementing and enforcing

the United States Food, Drug, and Cosmetic Act (the “Act”). I was responsible for overseeing

five Centers within the FDA. They included, among others, the Center for Drug Evaluation and

Research, the Center for Devices and Radiological Health and the Center for Biologics

Evaluation and Research. In addition to those duties, I placed high priority on getting promising

therapies for serious and life-threatening diseases to patients as quickly as possible. During my



                                                 5
    Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 7 of 84




tenure as Commissioner, the FDA announced a number of new programs including: the

regulation of the marketing and sale of tobacco products to children; nutrition labeling for food;

user fees for drugs and biologics; preventive controls to improve food safety; measures to

strengthen the nation’s blood supply; and the MEDWatch program for reporting adverse events

and product problems involving both drugs and devices. I created an Office of Criminal

Investigation within the Agency to investigate suspected criminal violations of the Act, FDA

regulations and other related laws.

          6.       I am a senior advisor to TPG Capital, a leading global private equity firm, which

owns pharmaceutical and biomedical companies. I served on the board of Aptalis Pharma. I

currently serve on the boards of Stoke Pharmaceuticals, Tokai Pharmaceuticals and the medical

device and biologics company Immucor, Inc. In these advisory and fiduciary capacities, I have

advised companies on the standards and duties of care within the pharmaceutical and medical

device industry. I also chaired the compliance committee of Aptalis Pharma, and currently chair

the quality committee at Immucor, Inc., which involves ensuring compliance with the FDA’s

regulations and requirements.

          7.       The documents provided to me by counsel, or that I accessed independently from

various sources, including, but not limited to, the FDA’s website, are attached as Appendix D. At

my request, and subject to my directions and review, the attached Schedules were prepared by

legal staff. Based on my review of the documents listed in Appendix D, and my training and

experience, I have a number of opinions that are detailed below.

          8.       It is my understanding that the cases identified in Footnote 2, infra, include, but

are not limited to, the following claims as they relate to Xarelto2:


2
    Xarelto is the brand name for the pharmaceutical drug rivaroxaban.


                                                          6
    Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 8 of 84




             a. Louisiana Product Liability Act (La. R.S. 9:2800.51, et seq.)

             b. Negligence;

             c. Negligence – Failure to Warn;

             d. Negligence – Negligent Design;

             e. Negligent Misrepresentation;

             f. Strict Products Liability;

             g. Strict Products Liability – Failure to Warn;

             h. Strict Product Liability – Design Defect;

             i. Breach of Express Warranty;

             j. Breach of Implied Warranty(ies);

             k. Fraud;

             l. Fraudulent Misrepresentation;

             m. Fraudulent Concealment;

             n. Fraud and Deceit;

             o. Violation of Unfair Trade Practices and Consumer Protection Law §51:1401, et.
                seq.

             p. Violation of Consumer Protection Laws;

             q. Loss of Consortium

             r. Redhibition (La. C.C. 2520, et seq.);

             s. Punitive Damages3

        9.       In this report, I use the term “sponsors” to refer to one or more of the following

corporate entities, including Janssen Research & Development, LLC f/k/a Johnson and Johnson


3
  See the following filed complaints for MDL 2592: Boudreaux, Joseph J., Jr., Case No. 2:14-cv-02720; Orr, Joseph,
Jr., Case No. 2:15-cv-03708; Mingo, Dora, Case No. 2:15-cv-03469; and James Henry, Individually and as Executor
of the Estate of William Henry, Case No. 2:15-cv-00224.

                                                        7
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 9 of 84




Pharmaceutical Research and Development LLC; Janssen Ortho, LLC; Janssen Pharmaceuticals,

Inc. f/k/a Janssen Pharmaceutica Inc. f/k/a Ortho-McNeil-Janssen Pharmaceuticals, Inc.; Johnson

and Johnson; Bayer Healthcare Pharmaceuticals, Inc.; Bayer Pharma AG f/k/a Bayer Schering

Pharma AG; Bayer Corporation; Bayer Healthcare, LLC; Bayer Healthcare AG; and Bayer AG.

           10.     The bellwether plaintiffs in this case are listed in Schedule 12.

           11.     My opinions in this case focus on the responsibilities of drug companies, focusing

on the regulatory interface between drug companies, the FDA, and physicians and patients as

well as industry standards. These types of issues involve the intersection of science and

regulation, including pharmacology, pharmacokinetics, and statistics.


    II.    FDA REGULATIONS REQUIRE THAT A MANUFACTURER MUST IDENTIFY
           IN THE WARNINGS AND PRECAUTIONS SECTION ANY LABORATORY
           TEST HELPFUL IN RECOGNIZING PATIENTS WITH ADVERSE
           REACTIONS

           12.     In 1979, FDA promulgated a regulation which required manufacturers to:

“identify any laboratory tests that may be helpful in following the patient’s response or in

identifying possible adverse reactions. If appropriate, information shall be provided on such

factors as the range of normal and abnormal values expected in the particular situation and the

recommended frequency with which tests should be done before, during, and after therapy.”4

           13.     The 1979 regulation required that such disclosures be in the Precautions section of

the drug label.

           14.     On January 24, 2006, FDA promulgated a regulation that merged the Warnings

and Precaution section and slightly modified the above requirement to read:

                   identify any laboratory tests helpful in following the patient’s response or in
                   identifying possible adverse reactions. If appropriate, information must be
                   provided on such factors as the range of normal and abnormal values expected in
4
    21 CFR §201.57(f)(3).

                                                     8
    Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 10 of 84




                    the particular situation and the recommended frequency with which tests should
                    be performed before, during, and after therapy.5

           15.      In my opinion, any laboratory test that is helpful in identifying patients at risk for

serious adverse events based upon a patient’s response to a drug should be disclosed in the

Warnings and Precautions section of the drug label.


III.       SERIOUS BLEEDING IS AN ADVERSE EVENT ASSOCIATED WITH THE USE
           OF XARELTO

           16.      According to the Phase III pivotal clinical trial conducted by the sponsors, Xarelto

was shown to result in 14.9 major or non-major clinically relevant bleeding events per 100

patient years.6

           17.      According to FDA medical reviewers, “With respect to safety, the single issue

weighing on the approval decision for rivaroxaban [Xarelto] is bleeding risk.”7

           18.      In my opinion, any laboratory tests that could be helpful in identifying patients at

increased risk of bleeding from Xarelto use should be identified in the Warnings and Precautions

section of the drug label.




5
    21 CFR §201.57(c)(6)(iii).
6
 The hazard ratios (Xarelto vs. warfarin) for the incidence of pre-designated types of bleeding events in the
ROCKET US population alone were as follows: Safety Endpoint, HR = 1.28 (1.09, 1.50; p=0.003); Major Bleeding,
HR = 1.50 (1.14, 1.98; p=0.004); Hb drop, HR = 1.64 (1.19, 2.24; p=0.002); Transfusion, HR = 1.61 (1.12, 2.33;
p=0.011); Critical site, HR = 0.85 (0.46, 1.59; p=0.614); Death, HR = 0.63 (0.23, 1.72; p=0.365); Non-major, HR =
1.20 (1.00, 1.45; p=0.049); Minimal, HR = 1.20 (0.79, 1.81; p=0.395). See FDA Briefing Document for the
Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8 September 2011, Clinical Review, p. 228.
In a letter dated January 28, 2014, FDA requested that the sponsors include a forest plot in the labeling that
presented data on bleeding events in ROCKET, including the previous listed data for the US population. See
XARELTO_JANSSEN_00000344. This forest plot and the relevant US population bleeding data is contained in the
FDA approved Xarelto labeling as of September 2015. See US Xarelto Prescribing Information dated 9/2015,
available at http://www.accessdata.fda.gov/drugsatfda_docs/label/2015/202439s015lbl.pdf.
7
 FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8
September 2011, Clinical Review, p. 16.

                                                        9
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 11 of 84




IV.        THERE IS VARIABILITY IN DRUG PLASMA CONCENTRATION LEVELS IN
           PATIENTS TAKING XARELTO

           19.       The following inter-patient variability was observed in the pivotal Phase III trial

supporting the atrial fibrillation indication8,9,10:

                 a. For the 20mg dose11:

                          i. The geometric mean AUC was 3,164 with a 5-95th percentile range of
                             1,860-5,434 mcg/h/L.
                         ii. The geometric mean Ctrough was 44 mcg/L with a 5th-95th percentile range
                             of 12-137 mcg/L.
                        iii. The geometric mean Cmax was 249 mcg/L with a 5th-95th percentile range
                             of 184-343 mcg/L.
                 b. For the 15mg dose12:

                          i. The geometric mean AUC was 3,249 with a 5-95th percentile range of
                             1929-5311 mcg/h/L.
                         ii. The geometric mean Ctrough was 57 mcg/L with a 5th-95th percentile range
                             of 18-136 mcg/L.
                        iii. The geometric mean Cmax was 229 with the 5th-95th percentile range of
                             178-313 mcg/L.

8
 Mueck, W., et al. Clinical Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban. Clin Pharmacokinet
(2014) 53:1-16.
9
  This section discusses the inter-patient variability in plasma drug concentration for a given dose of Xarelto. The
sponsor’s data also show that there is inter-patient variability in prothrombin time (PT) for a given dose of Xarelto
(see Schedule 13, Box & Whiskers plots entitled “Prothrombin Time (Rivaroxaban Arm, ROCKET-AF) Week 12,
20-28 Hours Post 20mg Dose (N=293) and “Prothrombin Time (Rivaroxaban Arm, ROCKET-AF) Week 24, 20-28
Hours Post 20mg Dose (N=276)”). This variability between patients in PT with a given dose is expected given the
variability between patients in concentration with a given dose and the relationship between drug concentration and
PT, as discussed below. Simply put, at a given dose, there is variability in both drug plasma concentration and the
effect of the drug, as measured by PT, because there is a linear correlation between drug plasma concentration and
PT.
10
     See Schedule 13 for the inter-patient variability associated with other approved indications, as listed in Schedule
2.
11
   The 20mg qd dose is the recommended dose for a) stroke prevention in patients with non-valvular atrial
fibrillation with CrCl >50 and b) the continued treatment of DVT/PE. For a discussion of FDA’s concerns about
dose selection, see Schedule 18.
12
   The 15mg qd dose is the recommended dose for a) stroke prevention in patients with non-valvular atrial
fibrillation with CrCl <50 and b) the treatment of acute DVT/PE.

                                                            10
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 12 of 84




           20.       Similar inter-patient variability data were provided by the sponsors in the Xarelto

NDA that included the Exploratory Population Pharmacokinetic-Pharmacodynamic Analysis of

Rivaroxaban Based on Data from Study 39039039AFL3001 JNJ-39039039 (BAY 59-7939,

rivaroxaban) dated December 15, 2010.13

           21.       According to these data, there is an approximately 10-fold difference in drug

exposure between those patients who are at the 5% and the 95% trough level.14

           22.       In my opinion, there is variability in drug plasma concentration levels in patients

taking Xarelto.


 V.        THERE IS A RELATIONSHIP BETWEEN XARELTO PLASMA
           CONCENTRATION LEVELS AND PROTHROMBIN TIME (PT)

           23.       According to Bayer’s Dr. Wolfgang Mueck, et al., in an article titled Clinical

Pharmacokinetic and Pharmacodynamic Profile of Rivaroxaban published in 2014: “Prolongation of

the PT (using NeoPlastin)15 was correlated with the rivaroxaban [Xarelto] plasma concentrations

in a linear relationship (Fig. 4).”16,17

           24.       Dr. Mueck’s Figure 418 demonstrates this relationship:




13
     XARELTO_BPAG_00006581.
14
     See Deposition of Dr. Wolfgang Mueck, Feb. 25, 2016, 391:12-18.
15
     At all times in this report, references to PT levels refer to PT levels obtained using the NeoPlastin reagent.
16
     Mueck 2014.
17
  A document prepared by the sponsor, dated May 11, 2016, stated: “The relationship between PT and rivaroxaban
plasma concentration when Neoplastin® Plus, STA Neoplastine®, or Innovin® is used as the reagent is linear and
closely correlated.” XARELTO_JANSSEN_24478012, p. 1.
18
     Mueck 2014.

                                                             11
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 13 of 84




          25.    According to sponsor data, the correlation coefficient between drug

concentrations and PT (using NeoPlastin) was reported as r value = 0.98.19

          26.    According to FDA medical reviewers, “With respect to the PK-PD relationship,

there is a direct linear relationship between serum concentrations of rivaroxaban [Xarelto]




19
     XARELTO_BPAG_37307156, p. 15.

                                                 12
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 14 of 84




expected in human use at the doses used in ROCKET, as demonstrated by the results of PK study

10847 (PPK03-002), as seen in Figure 4 below:”20




         27.    The FDA medical reviewers further questioned and, in turn, concluded: “Can

Prothrombin Time (PT) be used as a surrogate for PK? The PK data from 161 ROCKET patients

confirms the linear relationship between the plasma concentration of rivaroxaban [Xarelto], and

the PT, as demonstrated in Figure 6 below.”21,22




20
  FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8
September 2011, Clinical Review, p. 37.
21
  FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee (CRDAC), dated 8
September 2011, Clinical Review, p. 38.


                                                   13
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 15 of 84




          28.     A document created by the sponsors entitled “XARELTO® (rivaroxaban)

Coagulation Monitoring,” dated May 11, 2016, stated the following:

                       If assessment of rivaroxaban plasma concentrations is necessary, the PT
                        was reported to be an appropriate coagulation test. The relationship
                        between PT and rivaroxaban plasma concentration when Neoplastin®
                        Plus, STA Neoplastine®, or Innovin® is used as the reagent is linear and
                        closely correlated. The pharmacodynamics effects of rivaroxaban as
                        measured by the PT are strongly affected by the type of PT reagent that is
                        used.23
          28.     The document goes on to state the following regarding prothrombin time:

                  PT is a widely used clotting test that measures extrinsic and final common
                  pathways of coagulation cascade.
                       There is a concentration-dependent relationship between rivaroxaban and
                          prolongation of PT; however, there was considerable variability of PT
                          measurements depending on the specific reagent used.
                      …

                         In a human plasma study, STA Neoplastin Plus® was found to be the most
                          precise method for determination of rivaroxaban.
                         The higher cut-offs of rivaroxaban plasma concentrations correspond to
                          values associated with a significant risk of bleeding.24




23
     XARELTO_JANSSEN_24478012 at p. 1, internal citations removed.
24
     XARELTO_JANSSEN_24478012 at p. 2-3, internal citations removed.

                                                    14
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 16 of 84




         29.    In my opinion there is a relationship between Xarelto plasma concentration levels

and prothrombin time.


VI.      AS OF AUGUST 2011, THERE IS A RELATIONSHIP BETWEEN PT LEVELS
         AND THE RISK OF BLEEDING

         30.    According to FDA’s Stephen M. Grant, Deputy Division Director, Division of

Cardiovascular and Renal Products, the Clinical Pharmacology and Clinical reviewers

demonstrated “that there is also a correlation between PT and risk of bleeding.”25

         31.    According to FDA’s clinical pharmacology review:

                Major bleeding events increased with an increase in pre-dose PT
                [trough] over the observed range (per protocol, on treatment analysis
                set). Probability of major bleeding by pre-dose PT with rivaroxaban
                shown in (A) logistic regression model (Emax) and (B) Cox regression
                model with a plot indicating probability of an event within 1 year.26




25
 Center for Drug Evaluation and Research, Application Number 202439Orig1s000, Summary Review, Deputy
Devision Director Decisional Memo, dated 04 November 2011, p. 9.
26
  Center for Drug Evaluation and Research, Application Number 202439Orig1s000, Clinical Pharmacology
Review, dated 01/05/2011, p. 12, Section 3.3.

                                                    15
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 17 of 84




           32.      Janssen’s Dr. Troy Sarich testified:

                    Q.     And are you aware, sir, that the FDA said that PT could be used as a
                    surrogate marker for PK?

                    A.       I do recall they – they made that claim.

                    Q.       Do you agree or disagree with them in that?

                    A.      I – I don’t agree. I don’t think that that analysis was correct, and I don’t
                    think that their assessment was correct, and we spent a lot of time in the company
                    and also working with external academic experts on this question. And – and I
                    think as evidenced today by the fact that PT is not used by clinicians, it’s just not
                    helpful.

                    Q.       Okay. But had Janssen ever communicated to the FDA that PT would be a
                    useful surrogate marker of PK?
                    …
                    A.       I – I don’t recall exactly if we did. I think that we shared all the data we
                    had on the various coagulation markers that are available. PT was one of those
                    markers, which is prolonged by rivaroxaban. But I think we also pointed out that
                    it’s not – it’s not a sensitive assay for rivaroxaban, so we didn’t think the utility
                    was very good.

                    Q.      But – but the assessment that you – that the FDA did that you disagree
                    with, is that what they allegedly saw in the data, was that with increasing – or
                    that there was a linear relationship between PK and PD, with PD being the pro –
                    pro time, using the Neoplastine reagent, and that they also saw a correlation
                    between increasing PT and bleed risk, right?
                    …
                    A.      They – they produced multiple assessments and, similar to our prior
                    findings, yes, that PT is prolonged by rivaroxaban. The – the work they showed
                    that PT is correlated to bleeding, we did not agree with that assessment or how
                    they did the analysis.
                    …
                    Q.      And did you communicate that to the FDA, that you disagreed with their
                    analysis?

                    A. Yes, we did.
                    …
                    Q.      Okay. So at the end of the day, the FDA and Janssen did not reach
                    agreement on whether or not there is a relationship between PT and bleed risk?

                    A.       That’s correct.27


27
     Deposition of Dr. Troy Sarich, June 29, 2016, 51:12-53:20; 54:19-22; 59:22-60:2.

                                                          16
      Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 18 of 84




            33.      In my opinion, as of August 2011, there is a relationship between PT levels and

 the risk of bleeding.28, 29


VII.        MEASURING A PT LEVEL IN A XARELTO-TREATED PATIENT CAN BE
            HELPFUL IN IDENTIFYING PATIENTS AT RISK FOR SERIOUS ADVERSE
            EVENTS BASED UPON A PATIENT’S RESPONSE TO XARELTO

            34.      As noted above:

                  a. there is variability in drug plasma concentration levels in patients taking Xarelto;

                  b. there is a relationship between Xarelto plasma concentration levels and PT; and

                  c. there is a relationship between PT levels and the risk of bleeding.

            35.      Therefore, in my opinion, measuring a PT level in a Xarelto-treated patient can be

 helpful in identifying patients at risk for serious adverse events based upon a patient’s response

 to Xarelto.



VIII.       THERE IS A LABORATORY TEST TO MEASURE PT LEVELS IN XARELTO-
            TREATED PATIENTS

            36.      The sponsors used the Neoplastin PT test as a pharmacodynamic measurement in

 its clinical trials that studied Xarelto.30




 28
   Contrary to this finding with respect to bleeding, according to FDA’s medical reviewers, “no PT-dependent
 reduction in ischemic stroke is demonstrated over the range of PT data.” FDA Ad. Comm. Briefing Doc., Clinical
 Review, p. 43.
 29
   See also Nakano Y, et al. Clinical usefulness of measuring prothrombin time and soluble fibrin levels in Japanese
 patients with atrial fibrillation receiving rivaroxaban. J Cardiol (2014), http://dx.doi.org/10.1016/j.jjcc.2014.07.021
 The conclusion stated as follows:

            In Japanese patients with non-valvular atrial fibrillation receiving rivaroxaban, a prolonged
            peak PT (>20 s) could indicate increased risk of bleeding, and both trough and peak SF levels
            were reduced relative to baseline. PT and SF are both valuable measures of coagulation status
            in patients receiving rivaroxaban, regardless of prior anticoagulant history.
 30
      See Mueck 2014 at p. 13.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 19 of 84




           37.     Xarelto prolongs PT when using reagents such as NeoPlastin that are sensitive to

Xarelto, including both Neoplastin Plus® (Diagnostic Stago, Asnieres-sur-Seine, France) and

HemsIL RecombiPlasTin 2G (Instrumentation Laboratory, Bedford, MA, USA).31

           38.     A Janssen document titled “XARELTO® (rivaroxaban) Coagulation Monitoring,”

dated May 11, 2016, stated the following:

                   If assessment of rivaroxaban plasma concentrations is necessary, the
                   PT was reported to be an appropriate coagulation test. The relationship
                   between PT and rivaroxaban plasma concentration when Neoplastin®
                   Plus, STA Neoplastine®, or Innovin® is used as the reagent is linear
                   and closely correlated. The pharmacodynamics effects of rivaroxaban
                   as measured by the PT are strongly affected by the type of PT reagent
                   that is used.32

           39.     The 510(k) applications for STA Neoplastine (K922565) and Neoplastin Plus

(K922040) were cleared by FDA on December 7, 1992 and June 23, 1992, respectively.33

           40.     On August 15, 2007, FDA issued a substantial equivalence determination decision

summary for the application regarding HemosIL RecombiPlasTin 2G, which contained the

following conclusion: “The submitted information in this premarket notification is complete and

supports a substantial equivalence decision.”34

           41.     The 510(k) for the Dade Innovin II reagent (K935702) was cleared by the FDA on

November 22, 1994,35 and the Dade Innovin reagent (K94343) was approved on July 22, 1998.36


31
     Samama, M.M., et al. Laboratory assessment of rivaroxaban: a review. Thrombosis Journal 2013;11:11.
32
     XARELTO_JANSSEN_24478012 at p. 1, internal citations removed.
33
  http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K922565;
http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K922040
34
 510(k) Substantial Equivalence Determination Decision Summary Assay Only Template, 510(k) Number
K070005, available at http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K070005.
35
     http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K935702.
36
  510(k) Summary of Safety and Effectiveness, Dade® Innovin®, Prothrombin time assay, available at
http://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K974343.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 20 of 84




            42.      The sponsor indicates that the number of Xarelto prescriptions in the U.S. exceeds

twenty million.37 Since the drug is widely prescribed, the laboratory tests would be frequently

utilized, giving both physicians and clinical laboratories experience on how to interpret and use

the test.

            43.      In my opinion, while PT values change over the dosing interval, useful

information can be obtained if the measurement is collected at the appropriate time (e.g., peak,

trough, etc.).

            44.      In my opinion, there is a laboratory test to measure PT levels in Xarelto-treated

patients.


IX.         WHILE MEASURING A PT LEVEL IN A XARELTO-TREATED PATIENT CAN
            BE HELPFUL IN IDENTIFYING PATIENTS AT RISK FOR SERIOUS
            ADVERSE EVENTS BASED UPON A PATIENT’S RESPONSE TO XARELTO,
            IT DOES NOT ALLOW A PHYSICIAN TO TITRATE THE DOSE IN SUCH
            PATIENTS. RATHER, IT ALLOWS A PHYSICIAN AND A PATIENT TO
            DECIDE WHETHER THE PATIENT SHOULD CONTINUE XARELTO
            THERAPY

            45.      On August 10, 2011, when discussing dose adjustment in a single patient, FDA’s

Medical Reviewer stated that: “Monitoring rivaroxaban therapy with sequential prothrombin

times to optimize safety outcomes cannot be recommended due to a lack of information

regarding:

                  a. Within-patient variability38 of PT measurements on this drug in the setting of a
                     short half-life and rapidly changing PD effects over each 24 hour period, and

                     What action to recommend to the medical provider based on PT results, given that
                     only a single dose was tested in ROCKET….”39


37
     https://www.xarelto-us.com/blood-thinner
38
     Within-patient, or intra-patient, variability is different from between patient, or inter-patient, variability.
39
     FDA Ad. Comm. Briefing Doc., Clinical Review, p. 44.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 21 of 84




           46.     Thus, the FDA has recognized that the sponsors have not collected enough data to

allow a physician to titrate the dose in patients who may be at increased risk of bleeding.

           47.     That same day, on August 10, 2011, the FDA’s clinical pharmacology reviewers

stated, “Major bleeding events increased with an increase in pre-dose PT [trough] over the

observed range (per protocol, on treatment analysis set). Probability of major bleeding by pre-

dose PT with rivaroxaban shown in (A) logistic regression model (Emax) and (B) Cox regression

model with a plot indicating probability of an event within 1 year.”40, 41




           48.     On November 4, 2011, FDA’s Deputy Division Director stated that, “The clinical

pharmacology and clinical reviewers demonstrated that there is a linear correlation between

rivaroxaban levels and prothrombin time (PT). They also demonstrated that there is also a

correlation between PT and risk of bleeding. This applicant has not chosen to utilize this

40
     FDA Clinical Pharmacology Review, p. 12, Section 3.3.
41
  These data were available to the Sponsor no later than September 8, 2011, when this information became publicly
available. In my opinion, these data constitute new information available to the Sponsor relating to the relationship
between PT levels and risk of bleeding.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 22 of 84




information… infrequent monitoring (perhaps at initiation and yearly thereafter) to assure

appropriate dosing of drugs that prevent stroke and cause bleeding may improve outcomes and

be acceptable to patients.”42,43

         49.     In my opinion, while measuring a PT level in a Xarelto-treated patient can be

helpful in identifying patients at risk for serious adverse events based upon a patient’s response

to Xarelto, without additional adequate sponsor-generated clinical trial data exploring Xarelto

dose adjustment based on bleeding risk (as measured by PT), measuring a PT level does not

allow a physician to titrate the dose in such patients. Rather, it allows a physician and a patient to

decide whether the patient should continue Xarelto therapy.


 X.      CHRONOLOGY OF FDA’S STATEMENTS INCLUDING LABEL
         NEGOTIATIONS BETWEEN FDA AND THE XARELTO SPONSORS.

         50.     On October 1, 2005, the sponsors signed a Collaborative Development and

License Agreement, which included a Marketing Plan. The “Product Positioning & Target

Product Profile” section of that plan stated in part: “Compared to current and expected future




42
 Center for Drug Evaluation and Research, Application Number 202439Orig1s000, Summary Review, Deputy
Devision Director Decisional Memo, dated 04 November 2011, p. 9.
43
  See also Lippi, G., et al. Urgent monitoring of direct oral anticoagulants in patients with atrial fibrillation: a
tentative approach based on routine laboratory tests. J Thromb Thrombolysis DOI 10.1007/s11239-014-1082-5 (09
May 2014). The abstract states as follows:

                 The number of patients diagnosed with atrial fibrillation who will be candidates for antithrombotic
                 therapy with direct oral anticoagulants (i.e., dabigatran, rivaroxaban, apixaban and edoxaban) is
                 exponentially arising worldwide, thus posing substantial economic and organization challenges for
                 their urgent monitoring…Based on literature data, we have hence developed an algorithm based
                 on first-line tests for urgent screening of the anticoagulant effect of direct oral anticoagulants,
                 which entails activated partial thromboplastin time (aPTT) for dabigatran and prothrombin time
                 (PT) for rivaroxaban…According to the literature data, this strategy appears suitable to reliably
                 define the thrombotic or bleeding risk in an urgent setting, contextually saving precious laboratory
                 resources.

                                                        21
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 23 of 84




agents, [Xarelto] provides an ideal balance of safety and efficacy with the convenience of oral

dosing and a predictable response and without the need for coagulation monitoring.”44

          51.     “When Janssen filed NDA 022406 in July 2008, Janssen included the following

paragraph in Section 12.2 of its proposed label:


                  Dose-dependent inhibition of Factor Xa activity was observed in
                  humans and the prothrombin time (PT), activated partial
                  thromboplastin time (aPTT) and HepTest® are prolonged dose
                  dependently. The relationship between PT and rivaroxaban plasma
                  concentration is linear and closely correlated. If assessment of the
                  pharmacodynamics effect of rivaroxaban is considered necessary in
                  individual cases, PT (measured in seconds) is recommended. The
                  Neoplastin® PT assay was measured in the RECORD program and the
                  5/95 percentiles for PT (Neoplastin®) 2 to 4 hours after tablet intake
                  (i.e., at the time of maximum effect) ranged from 13 to 26 seconds. The
                  International Normalized Ratio (IN) should not be used for measuring
                  rivaroxaban pharmacodynamics effect.

                  See XARELTO_JANSSEN_00047659.”45

          52.     An April 23, 2009 document entitled “The Xarelto USPI Labeling Contingency

Document” asked, “Will we need to add a new 5.4 laboratory test section like Lovenox?” The

document indicated that the company would include such language “only if section is

requested…”46

          53.     “On May 27, 2009, the FDA issued a Complete Response letter for NDA 022406,

which included further comments on labeling. Janssen responded to the Complete Response




44
     XARELTO_BHCP_00015914, Exhibit E, p. 3.
45
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 8.
46
     XARELTO_JANSSEN_05911809.

                                                      22
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 24 of 84




letter on December 27, 2010. In this response, Janssen included the same proposed language in

Section 12.2. See XARELTO_JANSSEN_00054178 and XARELTO_JANSSEN_00054184.”47

         54.     “In January 2011, Janssen submitted draft labeling for NDA 202439, which

included the same language in Section 12.2. XARELTO_JANSSEN_00001707.”48

         55.     “On June 13, 2011, FDA responded and sent Janssen a revised label for NDA

022406 with the proposed PT language removed from Section 12.2. FDA proposes, ‘The

predictive value of these coagulation parameters for bleeding risk or efficacy has not been

adequately studied.’ XARELTO_JANSSEN_05852123 and

XARELTO_JANSSEN_05852122.”49

         56.     “Janssen responded and accepted FDA’s proposal to remove the majority of the

PT language, except with respect to INR, on June 16, 2011 (NDA 022406). Janssen also

proposed changing ‘has not been adequately studied’ to ‘has not been established.’ Here is the

full text of Janssen’s proposal: ‘The predictive value of these coagulation parameters for

bleeding risk or efficacy has not been established. The International Normalized Ratio (INR)

should not be used for measuring rivaroxaban pharmacodynamics effect.’

XARELTO_JANSSEN_01231195, XARELTO_JANSSEN_01231199.”50




47
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 9.
48
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 9.
49
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 9.
50
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 9.

                                                      23
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 25 of 84




         57.     “On June 22, 2011, FDA returned comments in response to Janssen’s June 16,

2011 submission (NDA 022406) and stated it disagreed with Janssen’s proposal to retain the

statement about INR. XARELTO_JANSSEN_00047264.”51

         58.     “Janssen responded to FDA (NDA 022406) on June 28, 2011 and stated in the

comments section:


                 For any specific level of warfarin anticoagulation, different
                 commercially available PT assays will show varying prolongations
                 measured in seconds. The conversion of PT results in seconds to INR
                 values was developed to normalize these differences so that the INR
                 value is the same regardless of the PT assay used. This INR conversion
                 is specific for warfarin (and other VKA) and if applied to rivaroxaban
                 actually increases conversion to assess rivaroxaban pharmacodynamic
                 effects should not be done as the results will be more variable and
                 potentially misleading (i.e., conversion could either increase or
                 decrease apparent effect compared with PT in seconds). Additional
                 details are provided below.
                 The reagent used to perform the Prothrombin Time (PT),
                 thromboplastin/tissue factor, is manufactured specifically for use in this
                 test, and is refined to address the adjustment of vitamin K antagonist
                 therapy. The reagents are produced by various commercial companies
                 around the world, and as a result, the reagents vary in their sensitivity
                 in this clotting assay. This leads to the situation where the plasma
                 sample of a patient anticoagulated on warfarin may provide a PT of, for
                 example, 17.0 seconds in one laboratory, but will not necessarily
                 produce the same exact PT value in another laboratory. To
                 accommodate for this, the INR was developed. While the INR does
                 standardize the prothrombin time values obtained on the same plasma
                 sample when tested in laboratories around the world, it is based on a
                 World Health Organization standard plasma sample system of plasma
                 drawn from patients who have been stably anticoagulated (usually for 2
                 weeks or longer) on a VKA like warfarin. Thus, when the INR is
                 reported, it is reliable only for patients on a VKA. Moreover, the
                 majority of laboratories today routinely only report out the calculated
                 INR, not the actual PT value in seconds, the method and units used in
                 the rivaroxaban pharmacodynamics studies. If prescribers of
                 rivaroxaban are to use the pharmacodynamic information provided in
                 this label to make clinical decisions, they must use the PT in seconds,

51
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 9.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 26 of 84




                 not the INR which is based on plasma from patients anticoagulated
                 with VKAs, and has no relation at all to the presence of rivaroxaban.
                 Therefore it is important to warn the prescriber that “The International
                 Normalized Ratio (INR) should not be used for measuring rivaroxaban
                 pharmacodynamics effect. The Sponsor proposes to add the statement
                 that “the Prothrombin Time could be used for estimating rivaroxaban
                 pharmacodynamics effect” (although Sponsor does not recommend it
                 due to the short half-life and fact that the effect varies with the various
                 available thromboplastin/tissue factor reagents).”
                 XARELTO_JANSSEN_00047272.”52
         59.     “On July 1, 2011, NDA 022406 was approved by the Agency, and contained the

following statements in Section 12.2 of the Approved Package Insert:


                 Dose-dependent inhibition of factor Xa activity was observed in
                 humans and the Neoplastin prothrombin time (PT), activated partial
                 thromboplastin time (aPTT) and HepTest are prolonged dose-
                 dependently. Anti-factor Xa activity is also influenced by rivaroxban.
                 There are no data on the use of the International Normalized Ratio
                 (INR). The predictive value of these coagulation parameters for
                 bleeding risk or efficacy has not been established.

                 XARELTO_JANSSEN_00047287.”53

         60.     “On July 12, 2011, Sanjay Jalota and Alla Rhoge (Janssen) had a call with Alison

Blaus (FDA Project Manager) to obtain feedback from the FDA internal meeting held on July

12, 2011. On this call, ‘Alison mentioned that NDA 22-406 approved label should be used as the

basis for the updated label and the AFib specific information added to it.’ See

XARELTO_JANSSEN_00000200.”54




52
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 9-10.
53
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 11.
54
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 11.

                                                      25
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 27 of 84




           61.     On August 10, 2011, the FDA’s clinical pharmacology reviewers stated, “Major

bleeding events increased with an increase in pre-dose PT [trough] over the observed range (per

protocol, on treatment analysis set). Probability of major bleeding by pre-dose PT with

rivaroxaban shown in (A) logistic regression model (Emax) and (B) Cox regression model with a

plot indicating probability of an event within 1 year.”55




           62.     “On Friday November 4, 2011, FDA provided final comments and a revised label

for NDA 202439. See XARELTO_JANSSEN_01499448. In this label, FDA struck the following

sentences from Section 12.2: ‘There are no data on the use of the INR. The predictive value of

these coagulation parameters for bleeding risk or efficacy has not been established.’ See

XARELTO_JANSSEN_08646664. From the time of the approval of NDA 202439 until May

2016, Section 12.2 stated:


                   Dose-dependent inhibition of factor Xa activity was observed in
                   humans and the Neoplastin prothrombin time (PT), activated partial

55
     FDA Clinical Pharmacology Review, p. 12, Section 3.3.

                                                        26
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 28 of 84




                  thromboplastin time (aPTT) and HepTest are prolonged dose-
                  dependently. Anti-factor Xa activity is also influenced by rivaroxaban.
                  See id.; see also XARELTO_JANSSEN_23524564.”56
          63.     On November 4, 2011, FDA’s Stephen M. Grant, Deputy Division Director,

Division of Cardiovascular and Renal Products, stated that the Clinical Pharmacology and

Clinical reviewers demonstrated “that there is also a correlation between PT and risk of

bleeding.”57

          64.     On December 4 and 5, 2014, Dr. Temple gave a presentation entitled “Dose-

Response – Anticoagulants,” which stated:

                  For the warfarin control we do not use a fixed dose. We titrate to
                  desired INR. This is perhaps because we know blood levels can be very
                  variable, but we also know that dose matters to outcome.

                  …

                  So, for the previous of standard of care, warfarin, we do not use a fixed
                  dose, but always use a dose titrated to anticoagulant effect. Why are
                  NOACs different? Maybe they shouldn’t be.

                  …

                  People like to avoid monitoring, but dabigatran concentration response
                  data suggests one blood level and adjustment could optimize stroke
                  reduction and minimize bleeding.

                  …

                  It is possible that if blood levels were not too variable a single dose
                  could get most people into proper range. We know that is not true for
                  dabigatran and edoxaban, and we also know that apixaban and
                  rivaroxaban did not reduce thromboembolic strokes compared to
                  warfarin although they caused less bleeding. Coagulation measures
                  might do as well as, or better than, blood levels. All of this is under



56
 Defendant Janssen Research & Development, LLC’s Responses to Plaintiffs’ Interrogatories Pertaining to
Defendants Affirmative Defense of Federal Preemption, at 11-12.
57
     FDA Summary Review, p. 9.

                                                      27
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 29 of 84




                   active consideration. With steep dose-response for both benefit and
                   risk, optimizing does or blood levels seems like a very good idea.58

           65.     In July 2016, a published report59 on the discussions held at the Cardiac Research

Safety Consortium (CSRC) think tank meeting in February 2015 stated:

                           The NOACs have reasonably predictable pharmacologic
                           profiles, with well-defined relationships between plasma
                           concentrations and anticoagulant effects and generally
                           predictable blood levels based upon administered dose. As such,
                           routine monitoring of coagulation tests has not been a
                           requirement for therapy. Moreover, even without such
                           monitoring, the NOACs performed well versus monitored
                           warfarin in their pivotal trials, including reduced fatal and
                           intracranial bleeding and, at least in AF trials, a 10% reduction
                           in all-cause mortality. Nonetheless, it is possible that they
                           might have performed even better regarding thrombotic or
                           bleeding events and stroke reduction if PK or PD
                           monitoring were available.60

           66.     On February 3, 2015, Dr. Temple gave a presentation that stated:

                           Not having the optimal dose at initial dosing is tolerable for
                           many drugs. You can adjust up or down according to response.
                           But here being too low leads to a stroke, a very bad outcome,
                           and being too high leads to major bleeds, also bad, so that early
                           optimization seems worthwhile…So, the NOACs are very
                           good, but could probably be better.61

           67.     On October 26, 2015, Drs. Jeffry Florian and Martin Rose of FDA, gave a

presentation entitled “Correlation of Drug Levels and Outcomes in Phase III New Oral




58
     EMA EFPIA Workshop, Slides 4, 6, and 11.
59
  One of the authors of this report, Dr. Evardas Kaminskas, is an employee at the FDA Division of Hematology
Products, CDER.
60
  Reiffel, et al. NOAC monitoring, reversal agents, and post-approval safety and effectiveness evaluation: A
cardiac safety research consortium think tank. Am. Heart J 2016;177:74-86, emphasis added, internal citations
omitted.
61
  Temple, R, M.D. “NOAC Dosing: Pharmacometric Guidance Regulatory Considerations.” CSRC, Feb. 3, 2015,
Slide 18.

                                                       28
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 30 of 84




Anticoagulant (NOAC) Trials,” in which they stated: “Relationships identified between drug

exposure/coagulation markers and major bleeding rate.”62

           68.     On December 3, 2015, at a follow-up CSRC meeting, organized debate occurred

between FDA’s Dr. Robert Temple and Bayer’s Dr. Scott Berkowitz. Dr. Temple gave a

presentation which stated:

                   So, for the previous of standard of care, warfarin, we do not use a fixed
                   dose but always use a dose titrated to anticoagulant effect. Why are
                   NOACs different? Maybe they shouldn’t be.

                   …

                   Blood Levels Can Help…How hard would it be to get one NOAC
                   blood level (when monthly or greater levels are SOC for warfarin) if
                   blood levels predicted outcome (which they appear to do)? It seems
                   self-evidently worth it.63
In turn, Dr. Berkowitz gave a presentation entitled “Counterpoint: PK based dosing strategy is

impractical and may not add value,” which stated:

                   Clinical value of a PK/PD measurement for NOAC dosing not proven
                   nor as straightforward as with PT/INR for VKAs.
                   …
                   Value added (for the patient) by taking a measurement not clear…A
                   drug plasma concentration level does not provide information about the
                   overall status of hemostasis in the patient in conjunction with that
                   level64


           69.     On December 3, 2015, at the CSRC meeting, FDA’s Dr. Jeffry Florian, Team

Leader, Division of Pharmacometrics CDER/OTS/Office of Clinical Pharmacology, in a

presentation entitled “Observations from Novel Oral Anticoagulation (NOAC) Trials for Stroke

62
  Florian, Jeffry, Ph.D. (CDER/OTS/OCP/DPM) & Rose, Martin, M.D. (CDER/OND/ODE1/DCRP). “Correlation
of Drug Levels and Outcomes in Phase III New Oral Anticoagulant (NOAC) Trials.” Oct. 26, 2015, Slide 13.
63
     NOAC Dosing Precision Dosing – YES!, Robert Temple, MD, CSRC Meeting, Dec. 3, 2015, Slides 5 and 12.
64
  Berkowitz, S., M.D. “Counterpoint: PK based dosing strategy is impractical and may not add value.” 3 Dec. 2015,
Slides 3 and 5.

                                                       29
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 31 of 84




Prevention in Atrial Fibrillation (SPAF),” presented Figure 4(A) Logistic Regression model

demonstrating increased bleed risk with prolongation of PT found at p. 12 of the Clinical

Pharmacology Review, dated August 10, 2011.65

          70.    In my opinion, while FDA originally stated in June 2011 (in its review of the hip

and knee replacement VTE prophylaxis indication) that the predictive value of coagulation

parameters for the bleeding risk had not been adequately studied, beginning in August 2011 (in

its Clinical Pharmacology review of the atrial fibrillation indication), the agency stated that there

was a relationship between bleeding risk and PT. Since then, the agency has repeatedly and

consistently cited that relationship.

          71.    In my opinion, while the sponsors proposed that language suggesting that if

“assessment of the pharmacodynamic effect of rivaroxaban is considered necessary in individual

patients, PT (measured in seconds) is recommended”66 be included in the Pharmacodynamics

section of the label, they never offered language to include in the Warnings and Precautions

section that suggested that measuring a PT level in a Xarelto-treated patient can be helpful in

identifying patients at risk for serious adverse events based upon a patient’s response to Xarelto.

          72.    In my opinion, the sponsors acknowledged that information about measuring PT

could be helpful in patient care decision-making.


XI.       THE SPONSORS FAILED TO “IDENTIFY ANY LABORATORY TESTS
          HELPFUL IN FOLLOWING THE PATIENT’S RESPONSE OR IN
          IDENTIFYING POSSIBLE ADVERSE REACTIONS.”

          73.    As discussed in this report:



65
  Florian, Jeffry, Ph.D. “Observations from Novel Oral Anticoagulant (NOAC) Trials for Stroke Prevention in
Atrial Fibrillation (SPAF).” CSRC NOAC Dosing Workshop, Dec. 3, 2015, Slide 10.
66
     XARELTO_JANSSEN_05911809, p. 15.

                                                      30
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 32 of 84




                 a. FDA regulations require that a manufacturer must identify in the Warnings and
                    Precautions section any laboratory test helpful in recognizing patients with
                    adverse reactions.

                 b. Serious bleeding is an adverse event associated with the use of Xarelto.

                 c. There is variability in drug plasma concentration levels in patients taking Xarelto.

                 d. There is a relationship between Xarelto plasma concentration levels and
                    prothrombin time (PT). There is a relationship between PT levels and the risk of
                    bleeding.

                 e. Measuring a PT level in a Xarelto-treated patient can be helpful in identifying
                    patients at risk for serious adverse events based upon a patient’s response to
                    Xarelto.

                 f. There is a laboratory test to measure PT levels in Xarelto-treated patients.

           74.      Therefore, in my opinion, based on the preceding sections, the sponsors failed to

“identify any laboratory tests helpful in following the patient’s response or in identifying

possible adverse reactions.”


XII.       WHILE FDA’S STATEMENTS REGARDING PRECISION DOSING WITH THE
           NOVEL ORAL ANTICOAGULANTS HAVE VARIED OVER TIME, IT IS THE
           PURVEYOR OF A DRUG, NOT THE FDA, WHO HAS PRIMARY
           RESPONSIBILITY FOR THE SAFETY OF ITS PRODUCT.

           75.      It is the purveyor of a drug that is responsible for the safety of the drug.

           76.      A drug company has a responsibility, independent of what the FDA directs it to

do, to alert physicians and patients to risks that were unknown to or poorly understood by the

FDA, but that were known to the company. This duty predates by decades the advent of federal

regulation of drugs.67




67
     See, e.g., Thomas v. Winchester, 6 N.Y. 397 (1852).


                                                           31
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 33 of 84




         77.      The FDA’s regulation of a drug cannot anticipate and protect against all safety

risks to individual consumers. Even the most thorough regulation of a product may fail to

identify potential problems presented by the product.

         78.      As I have written and testified about before the United States Congress, the

Federal Food, Drug and Cosmetic Act grants the FDA substantial authority over the approval,

labeling, and promotion of pharmaceutical products. But, in my opinion, nothing in the Act, or in

the FDA’s implementing regulations, relieves a manufacturer of its duty to act prudently in light

of the company’s internal knowledge about a product and its potential risks.

         79.      It was my opinion while Commissioner of the FDA, and remains to this day, that

the two systems of state consumer protection (including potential product liability) and federal

food and drug regulation should and do operate in a complementary but independent manner.

         80.      As the Supreme Court has recently ruled, generally, state law imposes

responsibilities on pharmaceutical companies to create products that are “reasonably safe,” a duty

that can be satisfied by the “presence and efficacy of a warning to avoid an unreasonable risk of

harm from hidden dangers or from foreseeable uses.”68

         81.      The Institute of Medicine and Government Accountability Office have noted that

the FDA’s ability to oversee drug safety has been constrained, especially during the post-approval

portions of a drug’s life. Specifically, the Institute of Medicine, in its report titled, “The Future of

Drug Safety: Promoting and Protecting the Health of the Public,” has stated that, “the drug safety

system is impaired by the following factors: serious resource constraints that weaken the quality

68
  Mutual Pharm. Co., Inc. v. Bartlett, 133 S.Ct. 2466, 2480 (2013). (internal citations omitted). Hill v. Searle
Laboratories, 884 F.2d 1064, 1068 (8th Cir. 1989) (“FDA regulations are generally minimal standards of
conduct…”); Wells v. Ortho Pharm. Corp., 788 F.2d 741, 746 (11th Cir. 1986) (“An FDA determination that a
warning is not necessary may be sufficient for federal regulatory purposes but still not be sufficient for state tort
law purposes.”); Feldman v. Lederle Lab., 125 N.J. 117, 121 (N.J. 1991); Vautour v. Body Masters Sports Indus.,
Inc., 147 N.H. 150, 153-54 (N.H. 2001).


                                                          32
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 34 of 84




and quantity of the science that is brought to bear on drug safety; an organizational culture in

CDER that is not optimally functional; and unclear and insufficient regulatory authorities

particularly with respect to enforcement.” The report further stated, “the committee found that

FDA, contrary to its public health mission, and the pharmaceutical industry, contrary to its

responsibility to the users of its products (and its shareholders), do not consistently demonstrate

accountability and transparency to the public by communicating safety concerns in a timely and

effective fashion.”69

         82.     In its report titled “Drug Safety: Improvement Needed in FDA’s Postmarket

Decision-making and Oversight Process,” the General Accounting Office stated:

                 Two organizationally distinct FDA offices, the Office of New Drugs
                 (OND) and the Office of Drug Safety (ODS), are involved in
                 postmarket drug safety activities. OND, which holds responsibility for
                 approving drugs, is involved in safety activities throughout the life cycle
                 of a drug, and it has the decision-making responsibility to take
                 regulatory actions concerning the postmarket safety of drugs. OND
                 works closely with ODS to help it make postmarket decisions. ODS,
                 with a primary focus on postmarket safety, serves primarily as a
                 consultant to OND and does not have independent decision-making
                 responsibility. ODS has been reorganized several times over the years.
                 There has been high turnover of ODS directors in the past 10 years,
                 with eight different directors of the office and its predecessors. In the
                 four drug case studies GAO examined, GAO observed that the
                 postmarket safety decision-making process was complex and
                 iterative...FDA lacks clear and effective processes for making decisions
                 about, and providing management oversight of, postmarket safety
                 issues. The process has been limited by a lack of clarity about how
                 decisions are made and about organizational roles, insufficient
                 oversight by management, and data constraints. GAO observed that
                 there is a lack of criteria for determining what safety actions to take and
                 when to take them. Certain parts of ODS’s role in the process are
                 unclear, including ODS’s participation in FDA’s scientific advisory
                 committee meetings organized by OND. Insufficient communication
                 between ODS and OND has been an ongoing concern and has hindered
                 the decision-making process. ODS does not track information about
                 ongoing postmarket safety issues, including the recommendations that

69
  Institute of Medicine, “The Future of Drug Safety: Promoting and Protecting the Health of the Public,” 2007, p.4;
http://www.nap.edu/openbook.php?record_id=11750&page=4.

                                                        33
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 35 of 84




                    ODS staff make for safety actions. FDA faces data constraints in
                    making postmarket safety decisions. There are weaknesses in the
                    different types of data available to FDA, and FDA lacks authority to
                    require certain studies and has resource limitations for obtaining data.70

           83.      Generally, the FDA does not test drugs nor conduct clinical trials. It can approve

a company’s drug application or take steps to withdraw a drug that is on the market.

           84.      Once a drug is approved, the FDA’s regulations make clear that a drug company

has a duty to warn and modify labeling without delay when hazards emerge with one of its

drugs.71 The regulations specifically authorize a drug company to make labeling changes, and

take other steps to inform physicians and patients of emerging risks, without advanced approval

from the FDA. Such responsibility is intended to complement, not undercut, the FDA’s job of

protecting consumers from dangerous drugs.

           85.      Drug companies have an obligation to revise a label “to include a warning about a

clinically significant hazard as soon as there is reasonable evidence of a causal association with a

drug; a causal relationship need not have not been definitely established.”72

           86.      Manufacturers have significant resources that are or should be committed to

overseeing the safety of the drugs they market. As a result, manufacturers invariably get safety

information before the FDA does, and have access to information that is not available to the FDA.

Company scientists and physicians also develop impressions and an understanding of a drug’s

potential safety profile that may be more informed than the FDA’s.




70
 Drug Safety: Improvement Needed in FDA's Postmarket Decision-making and Oversight Process, GAO-06-402,
March 31, 2006, Introduction page, http://www.gao.gov/new.items/d06402.pdf.
71
     21 C.F.R. § 201.57(e) (1999).
72
  21 C.F.R. § 201.57(c)(6), 21 C.F.R. § 314.70 (c)(6)(iii)(A)-(C). See generally Kessler D. A. and Vladeck D. C.,
“A Critical Examination of the FDA’s Efforts to Preempt Failure-to-Warn Claims” (2007). O'Neill Institute Papers.
Paper 2, for a discussion of manufacturers’ responsibility to change the label in the face of new safety information.

                                                         34
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 36 of 84




         87.     Thus, what a drug company knows about a drug and what the FDA knows may be

 different.

         88.     The duties of a pharmaceutical company are based not only on the FDA’s

 regulations and requirements, but also on the risks presented by a drug about which the company

 knew, should have known, or should have investigated. BI’s responsibility for the safety of its

 product and the adequacy of its warnings exists regardless of what the FDA did, did not do,

 and/or required of BI.

         89.     As Commissioner of the FDA from 1990 through 1997, I can attest that the

 responsibility of drug sponsors have been in force for decades.



XIII.    INFORMATION ABOUT LABORATORY TESTS THAT COULD BE HELPFUL
         IN IDENTIFYING PATIENTS AT INCREASED RISK OF BLEEDING FROM
         XARELTO USE WOULD BE USEFUL INFORMATION FOR PHYSICIANS IN
         CLINICAL DECISION-MAKING.
         90.     In the Boudreaux matter (Case No. 2:14-cv-02720), the physician who prescribed

 Xarelto to the plaintiff testified as follows:

                 Q.      If there were a simple blood test to determine the plasma concentration
                 level for Xarelto that could significantly reduce the risk associated with the drug,
                 would you want to know that?

                 A.      In other words, let me just get that right. You wanted me -- you are asking
                 me if there was a way to monitor the level that -- what was your question again?

                 Q.      Well, let me back up. Do some patients respond to anticoagulants
                 differently?

                 A.       Yes.

                 Q.     So some patients may take a pill and they may have a high response level,
                 correct?

                 A.       Yes. That applies to any drug, right?



                                                   35
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 37 of 84




                    Q.      So if there were a way to identify high responders to Xarelto with a one-
                    time blood test, would that be important for you to know?

                    A.       If there was a way to identify high dose responders? I would like to know
                    if that affects the therapeutic -- what is the therapeutic range and how we are
                    going to monitor before I kind of give a definite answer to that.

                    Q.      Knowing the therapeutic range is important, correct?

                    A.    If there's such a -- if it's very specific what is the therapeutic range then
                    you would use the therapeutic range.

                    Q.      If such a one-time blood test were available, would you use it for patients
                    that you were putting on Xarelto?

                    A.     So if there is a test that would tell you that some people are high
                    responders, is that what you said?

                    Q.      Yes.

                    A.      Like they are very sensitive to it?

                    Q.      Yes.

                    A.      That they would be at risk for bleeding?

                    Q.      Yes.

                    A.    Or proven bleeding, that they are clearly at higher risk? Yes, of course, I
                    would want to know that.73


           91.      In the Orr matter (Case No. 2:15-cv-03708), the physician who prescribed Xarelto

to the plaintiff testified as follows:


                    Q.     But, again, we have looked at the interpatient variability. We have seen
                    how high patients can be when they take Xarelto at steady-state and we have seen
                    how low they can be, right?
                    A.      Right.
                     Q.     And knowing that the higher a patient is the more likely they are to bleed.
                    If you could do a simple PT test and determine whether a patient was at the very

73
     Deposition of Dr. Kenneth Wong, July 11, 2016, 43:5-46:4.


                                                         36
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 38 of 84




                    high end and, therefore, much more likely to bleed, is that something that you
                    would want to know?
                    A.      It's something that I would want to know if the FDA had thought it was a
                    good idea. I put a lot of faith in what the FDA allows the drug -- how it allows it
                    to be used.74
                    …
                    Q.     Do you think it would be acceptable to you and your patients to monitor
                    Xarelto levels at initiation and then once a year afterwards to make sure they
                    weren't too much or too low on Xarelto?
                    A.       That's another hypothetical question. If I was going to try something like
                    that, I don't know why I would wait a year for the second piece of data. I would
                    say maybe initiation and then four to six weeks, and then if you were in the right
                    ballpark, if you thought it was going to be stable, space it out.
                    Q.       And if you did the initial, after they got to steady-state, and you did the
                    initial test and they were up in the 95th percentile, what would you do?
                    A.      You mean the 95th percent of being where they ought to be?
                     Q.   When we looked at that scatter plot, the lowest was like .6 and the highest
                    was well over 600. I'm saying if they are in the top of the class, what would you
                    do?
                    A.      If they were out of bounds, in other words?
                    Q.      Right.
                    A.      I would make an adjustment then.
                    Q.    And you said you frequently talked with patients about the difference
                    between Warfarin and the frequent monitoring --
                    A.      Yes.
                    Q.      -- and the Xarelto or Pradaxa where there is no monitoring, right?
                    A.      Right.
                    Q.      And in your experience, you know, having worked with these patients for a
                    long time, I think you also said you tell them the benefit is if you do the Warfarin,
                    you do the testing, you know where you are?
                    A.      Yes.
                    Q.      Whereas when you do Xarelto, Pradaxa, no testing, you don't know, right?

74
     Deposition testimony of Dr. Maurice St. Martin, June 27, 2016, 196:24-197:14.

                                                         37
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 39 of 84




                    A.       Right.
                    Q.     Do you think that they would find it to be a happy medium to do this
                    infrequent testing on Xarelto or Pradaxa to find out where they are?
                     A.     From the patients that I deal with, and I've got a lot of long chronic
                    patients that I really have got a close relationship to, I think they would go with
                    anything suggested.
                    Q.     If you knew that there was a way to monitor Xarelto levels in your patient
                    and do it infrequently, was that something that you would suggest to them?
                    A.     I would have to see it studied and see all the data, but if it turned out to be
                    a good thing to do, I would certainly suggest it. Yes.
                    Q.     I think what you said that we know is the higher the prothrombin time, the
                    more likely they are to bleed, right?
                    A.       That's correct.
                    Q.     What other data would you need other than knowing kind of what the
                    ballpark is to keep them in?
                    A.     The outcome of the patient. In other words, if you want us to initiate a
                    new way to use the drug, I would say you want the data on the measurement you
                    want and then you want the data of how that measurement benefited or harmed or
                    did nothing for the patient. The outcome data too.
                    Q.     But you know if you keep the patient from being at the very high range of
                    the PT that you are protecting them from bleeds, right?
                    A.       You generally would think that.75


           92.      In the Mingo matter (Case No. 2:15-cv-03469), the physician who prescribed

Xarelto to the plaintiff testified as follows:


                    Q.      So if you could monitor Xarelto at initiation to see the effect that it was
                    having on a patient's blood to ensure that the patient had the right dose, do you
                    believe that would result in better outcomes for patients?

                    A.     If the manufacturer of the drug and the FDA recommends that we as
                    physicians do this, yes.76

75
     Deposition testimony of Dr. Maurice St. Martin, June 27, 2016, 225:13-228:9.
76
     Deposition of Dr. Renie Armstrong Jordon, August 12, 2016, 94:5-11.


                                                          38
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 40 of 84




                   …

                   Q.      So, Doctor, when you prescribed Xarelto to Ms. Mingo in January of
                   2015, it was your understanding that the anticoagulation effect of Xarelto on Ms.
                   Mingo's blood could not be monitored; is that correct?

                   A.       That's my understanding, yes.

                   Q.     And the label in effect at that time for Xarelto specifically stated that the
                   anticoagulation effect of Xarelto could not be monitored; is that correct?

                   A.       That's my understanding, yes.

                   Q.     But Janssen had information suggesting that the anticoagulation effect of
                   Xarelto could actually be monitored; is that right?

                   A.       In some fashion, yes.
                   …

                   Q.     Doctor, when you prescribed Xarelto to Ms. Mingo in January of 2015,
                   would you have liked to have known that it was possible to monitor the
                   anticoagulation effect of Xarelto? Is that information that you would've liked to
                   have had?

                   A.       Yes.

                   Q.     And if you would have known that, if you knew that it was possible to
                   monitor the anticoagulation effect of Xarelto for Ms. Mingo, is that something you
                   would have wanted to do?

                   A.       Yes.

                   Q.     Would it have been beneficial -- would it have been beneficial to you to
                   monitor the effect it was having on her right after she initiated the drug?

                   A.       Yeah.77

                   …

                   Q.       So, Doctor, if after you prescribed Xarelto to her on the 23rd, --

                   A.       Uh-huh (affirmative response).



77
     Deposition of Dr. Renie Armstrong Jordon, August 12, 2016, 99:23-102:1.

                                                        39
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 41 of 84




                   Q.     -- if you knew that there was a test that you could have ran the next day
                   that would have shown you the effect that Xarelto was having on her blood, you
                   would have ran that test, correct?

                   A.       Correct.

                   Q.     And if that test showed that Xarelto was causing her blood to become too
                   anticoagulated, would you have made some kind of adjustment to her dosage or
                   her medication?

                   A.       Yes, I would.78


           93.     In the Henry matter (Case No. 2:15-cv-00224), the primary physician who

prescribed Xarelto to the plaintiff testified as follows:


                   Q.      Looking back, considering the flat efficacy curve between 9 or 10 and 30
                   seconds on the prothrombin time scale, looking at the increased risk as the
                   prothrombin time increases and considering that Mr. Henry was also on aspirin,
                   would you agree that it would have been safer for Mr. Henry with respect to
                   bleeds for him to be on the lower part of the prothrombin scale versus the higher
                   part?

                   A.      Yes, I would. And, again, it goes back to the fact that that was not really
                   offered as a way to track this. We were not really -- nobody was ever told that
                   there was a way to track it.

                   Q.      And I'm not being critical at all of you or your colleagues, Dr. McCain.
                   I'm just -- I'm just asking what you would have liked to have known --

                   A.       Uh-huh.

                   Q.     -- and we'll get -- and then we'll get into the monitoring and how you
                   could have checked. But that's not what I -- I'm not going there at all.

                   A.       Okay.

                   Q.      I'm just asking you as a doctor treating your patients, if you had been
                   given this information, would you have concluded, it's better for Mr. Henry to be
                   on the lower part of this scale than the upper part?




78
     Deposition of Dr. Renie Armstrong Jordon, August 12, 2016, 106:12-25.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 42 of 84




                    A.     Correct. If we -- if the medical community -- if we as physicians had
                    known that there was a way to track this, a correlation, it would have been -- that
                    would have been beneficial.

                    Q.       And if there were a test that were available to tell you where your patient
                    was on this scale, and that it was something that was relatively affordable, is that
                    something that you as a physician, knowing what you know now, would want to
                    utilize in your patients to see where they were on the scale?

                    A.      It would be. I would also want to know that it affected their outcomes. I
                    would want to know that the added testing cost, what have you, would affect that
                    patient's long-term outcomes.79

                    …

                    Q.      Are you familiar with ordering prothrombin time testing?

                    A.      Yes.

                    Q.      Is that something that you have the ability to do any day of the week when
                    you're in the office?

                    A.      Yes.

                    Q.      ...Back when you were taking care of Mr. Henry, did anybody at Bayer or
                    Janssen ever inform you that you could order a prothrombin time using one of
                    these sensitive assays that are identified in this article to check levels of Mr.
                    Henry's Xarelto and see where he was on those curves?

                    A.      No.

                    Q.    Is that something that you would have liked for them to have told you, for
                    Mr. Henry and for your other patients?

                    A.      It might have been useful. It would have been useful. It would be useful.80

           94.      In my opinion, based in part on the above testimony, information about laboratory

tests that could be helpful in identifying patients at increased risk of bleeding from Xarelto use

would be useful information for physicians in clinical decision-making.



79
     Deposition of Dr. David B. McCain, July 1, 2016, 138:3-140:2.
80
     Deposition of Dr. David B. McCain, July 1, 2016, 162:17-163:13.

                                                         41
      Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 43 of 84




XIV.        MINIMIZING RISKS.

            95.      With regard to anticoagulants, generally speaking, the same mechanism of action

 responsible for conferring the benefit is also responsible for conferring the risk of bleeding.

            96.      A drug company has the responsibility to take steps to minimize the risks

 associated with a drug, and provide information to doctors and patients so that they, too, can take

 steps to minimize the risks associated with the drug.

            97.      In addition to the requirement to “identify any laboratory tests helpful in

 following the patient’s response or in identifying possible adverse reactions,” according to the

 Act, all manufacturers need to provide physicians with “adequate directions for use.”81

            98.      Drug companies have a responsibility to provide information to physicians so that

 they can use the drug safely.

            99.      The FDA places great emphasis on a “serious adverse reaction that can be

 prevented or reduced in frequency or severity by appropriate use of the drug (e.g., patient

 selection, careful monitoring, avoiding certain concomitant therapy, addition of another drug or

 managing patients in a specific manner, avoiding use in a specific clinical situation).”82

            100.     In my opinion, a reasonably prudent drug manufacturer, who knows that certain

 patients are at an increased risk of serious adverse events relative to others, would inform

 prescribers of that fact.

            101.     In my opinion, based on the reasons cited above, the sponsors did not adequately

 notify physicians that some patients are at higher risk than others (i.e., inter-patient variability).




 81
      21 U.S.C. §352(f)(1).
 82
  Guidance of Industry, Warnings and Precautions, Contraindications, and Boxed Warning Sections of Labeling for
 Human Prescription Drug and Biological Products – Content and Format, October 2011, p. 11.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 44 of 84




           102.      In my opinion, based on the reasons cited above, the sponsors did not adequately

instruct physicians how to identify those patients (i.e., PT).

           103.      In my opinion, based on the reasons cited above, the sponsors did not adequately

instruct physicians on how to clinically manage the information (e.g., titrate, discontinue,

additional warnings).



XV.        POST-MARKET EVIDENCE FURTHER INDICATES NEED TO IMPROVE
           SAFETY OF XARELTO FOR PATIENTS VIA A HELPFUL LABORATORY
           TEST
           A. Post-Market Epidemiology83
           104.      In an observational, nationwide cohort study assessing real-world safety,

effectiveness, and persistence associated with rivaroxaban and warfarin in non-valvular AF

patients by Laliberte, et al.,84 rivaroxaban and warfarin did not differ significantly in real-world

rates of composite stroke and systemic embolism and bleeding (major, intracranial or GI

bleeding). In addition, rivaroxaban was associated with significantly fewer venous

thromboembolism events in comparison to warfarin, as well as significantly better treatment

persistence. A total of 14,616 warfarin patients and 3,654 rivaroxaban patients were included in

the study using healthcare claims from Symphony Health Solutions’ Patient Transactional

Datasets (study period: May 2011 – July 2012). The results of the study were as follows:

                     No significant differences were observed for bleeding and composite
                     stroke and systemic embolism outcomes, although rivaroxaban users
                     were associated with significantly fewer VTE events (hazard ratio [HR]
                     = 0.36, 95% confidence interval [CI]: 0.24-0.54, p<0.0001) compared
                     to warfarin users. Rivaroxaban was also associated with a significantly
                     lower risk of treatment non-persistence (HR = 0.66; 95% CI: 0.60-0.72,
                     p<0.0001).
83
     For a discussion of the strengths and limitations of each of these studies, see Schedule 19.
84
   Laliberte, et al., Real-world comparative effectiveness and safety of rivaroxaban and warfarin in nonvalvular atrial
fibrillation patients, Current Medical Research & Opinion, 2014; 30(7):1317-1325.

                                                             43
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 45 of 84




         105.    In a retrospective, propensity matched cohort study of new users of

dabigatran, rivaroxaban, and warfarin by Abraham, et al.,85 the risk of gastrointestinal bleeding

related to novel oral anticoagulants was similar to that for warfarin. Using a large database of

administrative claims data of privately insured and Medicare Advantage enrollees (study period:

November 1, 2010 – September 30, 2013), the participants of the study consisted of new users of

warfarin, dabigatran, and rivaroxaban. Specifically, the results of the study were as follows:

                 The incidence of gastrointestinal bleeding associated with dabigatran
                 was 2.29 (95% confidence interval 1.88 to 2.79) per 100 patient years
                 and that associated with warfarin was 2.87 (2.41 to 3.41) per 100
                 patient years in patients with atrial fibrillation. In non-atrial fibrillation
                 patients, the incidence of gastrointestinal bleeding was 4.10 (2.47 to
                 6.80) per 100 patient years with dabigatran and 3.71 (2.16 to 6.40) per
                 100 patient years with warfarin. With rivaroxaban, 2.84 (2.30 to 3.52)
                 gastrointestinal bleeding events per 100 patient years occurred in atrial
                 fibrillation patients (warfarin 3.06 (2.49 to 3.77)/100 patient years) and
                 1.66 (1.23 to 2.24) per 100 patient years in non-atrial fibrillation
                 patients (warfarin 1.75 (1.25 to 1.99)/100 patient years). In propensity
                 score matched models, the risk of gastrointestinal bleeding with novel
                 oral anticoagulants was similar to that with warfarin in atrial fibrillation
                 patients (dabigatran v warfarin, hazard ratio 0.79 (0.61 to 1.03);
                 rivaroxaban v warfarin, 0.93 (0.69 to 1.25)) and in non-AF patients
                 (dabigatran v warfarin, hazard ratio 1.14 (0.54 to 2.39); rivaroxaban v
                 warfarin, 0.89 (0.60 to 1.32)). The risk of gastrointestinal bleeding
                 increased after age 65, such that by age 76 the risk exceeded that with
                 warfarin among atrial fibrillation patients taking dabigatran (hazard
                 ratio 2.49 (1.61 to 3.83)) and patients with and without atrial fibrillation
                 taking rivaroxaban (2.91 (1.65 to 4.81) and 4.58 (2.40 to 8.72),
                 respectively).

         106.    In a propensity-matched, nationwide cohort study comparing dabigatran or




85
  Abraham, et al., Comparative risk of gastrointestinal bleeding with dabigatran, rivaroxaban, and warfarin:
population based cohort study, BMJ, 2015; 350:h1857, doi: 10.1136/bmj.h1857.

                                                         44
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 46 of 84




rivaroxaban to vitamin K antagonists (VKA) in new users with nonvalvular atrial fibrillation by

Maura, et al.,86 the findings suggest that physicians should exercise caution when initiating either

NOAC (dabigatran or rivaroxaban) or VKA in patients with nonvalvular atrial fibrillation. The

population was comprised of 19,713 VKA new users, 8,443 dabigatran new users, and 4,651

rivaroxaban new users, and all dabigatran- and rivaroxaban-treated patients were matched to

16,014 and 9,301 VKA-treated patients, respectively (using 1:2 matching on the propensity

score). Specifically, the results of the study were as follows:

                  Among dabigatran-, rivaroxaban- and their VKA matched-treated
                  patients, 55 and 122 and 31 and 68 bleeding events and 33 and 8 and 12
                  and 28 arterial thromboembolic events were observed during follow-up,
                  respectively. After matching, no statistically significant difference in
                  bleeding (HR=0.88 [0.64-1.21]) or thromboembolic (HR=1.10 [0.72-
                  1.69]) risk was observed between dabigatran and VKA new users.
                  Bleeding (HR=0.98 [0.64-1.51]) and ischemic (HR=0.93 [0.47-1.85])
                  risks were comparable between rivaroxaban and VKA new users.
         107.     In a population based, retrospective cohort study by Chang, et al.87

comparing the safety of dabigatran or rivaroxaban to warfarin in terms of gastrointestinal

bleeding, the study authors concluded that “[a]lthough rates of gastrointestinal bleeding seem to

be similar in this commercially insured sample of adults in the United States, we cannot rule out

as much as a 50% increase in the risk of gastrointestinal bleeding with dabigatran compared with

warfarin or a more than twofold higher risk of bleeding with rivaroxaban compared with

warfarin.” The study comprised a population of 46,163 patients, including 4,907 patients using

dabigatran, 1,649 patients using rivaroxaban, and 39,607 patients using warfarin. Specifically,

the results of the study were as follows:


86
   Maura, et al., Comparison of the short-term risk of bleeding and arterial thromboembolic events in nonvalvular
atrial fibrillation patients newly treated with dabigatran or rivaroxaban versus Vitamin K antagonists: A French
nationwide propensity-matched cohort study, Circulation, 2015, doi:10.11/61/CIRCULATIONAHA.115.015710.
87
  Chang, et al., Risk of gastrointestinal bleeding associated with oral anticoagulants: population based retrospective
cohort study, BMJ, 2015; 350:h1585, doi:10.1136/bmj.h1585.

                                                          45
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 47 of 84




                  Dabigatran users tended to be older (dabigatran v rivaroxaban v
                  warfarin: 62.0 v 57.6 v 57.4 years) and more likely to be male (69% v
                  49% v 53%). The rate of gastrointestinal bleeding was highest among
                  dabigatran users and lowest among rivaroxaban users (dabigatran v
                  rivaroxaban v warfarin: 9.01 v 3.41 v 7.02 cases per 100 person years).
                  After adjustment for potentially confounding covariates, there was no
                  evidence of a stastically significant difference in the risk of
                  gastrointestinal bleeding between dabigatran and warfarin users
                  (adjusted hazard ratio 1.21, 95% confidence interval 0.96 to 1.53) or
                  between rivaroxaban and warfarin users (0.98, 0.36 to 2.69).

         108.     In a prospective cohort study evaluating the effectiveness and safety of

rivaroxaban compared to warfarin or dabigatran in routine care nonvalvular atrial fibrillation

(AF) patients by Gorst-Rasmussen, et al.,88 rivaroxaban was associated with similar or lower

stroke rates, but higher bleeding and mortality rates. The study consisted of AF patients,

identified using nationwide health registries (study period: February 2012 – August 2014) who

were new users of rivaroxaban 15 mg or 20 mg, dabigatran 110 mg or 150 mg, or warfarin. The

results of the study were as follows:

         Rivaroxaban users (R15: n=776; R20: n=1629) were older and with more
         comorbidities than warfarin (n=11045) and dabigatran users (D110:n-3588;
         D150: n=5320). Rivaroxaban 15-mg users had the overall highest crude
         mortality rate. After propensity adjustment, rivaroxaban had lower stroke rates
         vs. warfarin. The bleeding rate was similar to warfarin and moderately higher
         vs. dabigatran (R15 vs. D110 HR: 1.28, 95%CI:0.82-2.01; R20 vs. D150 HR:
         1.81, 95%CI: 1.25-2.62). The mortality rate was higher vs. dabigatran (R15 vs.
         D110 HR: 1.43, 95%CI: 1.13-1.81; R20 vs. D150 HR: 1.52, 95%CI: 1.06-
         2.19).

         109.     In a retrospective cohort study comparing the major bleeding risk among




88
  Gorst-Rasmussen, et al., Rivaroxaban versus warfarin and dabigatran in atrial fibrillation: comparative
effectiveness and safety in Danish routine care, Pharmacoepidemiology and Drug Safety, 2016,
doi:10.1002/pds.4034.

                                                         46
     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 48 of 84




new users of apixaban, warfarin, dabigatran, and rivaroxaban with nonvalvular atrial fibrillation

by Lip, et al.,89 patients initiated on rivaroxaban or warfarin were associated with a significantly

greater risk of major bleeding compared to patients initiated on apixaban. In addition, patients

initiated on apixaban were associated with significantly lower risk of major bleeding compared

to patients initiated on warfarin. Using the Truven MarketScan® Commercial and Medicare

supplemental US database (study period: January 1, 2013 - December 31, 2013), there were

29,338 newly anticoagulated patients with non-valvular atrial fibrillation: 2,402 initiated on

apixaban (8.19%); 4,173 initiated on dabigatran (14.22%); 10,050 initiated on rivaroxaban

(34.26%); and 12,713 initiated on warfarin (43.33%). The results of the study were as follows:

         After adjusting for baseline characteristics, initiation on warfarin [adjusted HR
         (aHR): 1.93, 95% confidence interval (CI): 1.12-3.33, P=.018] or rivaroxaban
         (aHR: 2.19, 95% CI: 1.26-3.79, P=.005) had significantly greater risk of major
         bleeding vs apixaban. Dabigatran initiation (aHR: 1.71, 95% CI: 0.94-3.10,
         P=.079) had a non-significant major bleeding risk vs apixaban. When
         compared with warfarin, apixaban (aHR: 0.52, 95% CI: 0.30-0.89, P=.446) had
         a non-significant major bleeding risk vs warfarin.

         110.     In a study comparing major bleeding risk among new users of apixaban,

warfarin, dabigatran, and rivaroxaban with non-valvular atrial fibrillation by Lip, et al.,90 patients

initiated on apixaban and dabigatran were associated with significantly lower risk of major

bleeding compared to patients initiated on warfarin. In addition, patients initiated on rivaroxaban

were associated with significantly higher risk of major bleeding compared to patients initiated on

apixaban. Using the Truven MarketScan® Commercial and Medicare supplemental US database

(study period: January 1, 2012 - December 31, 2014), there were 45,361 newly anticoagulated


89
   Lip, et al., Major bleeding risk among non-valvular atrial fibrillation patients initiated on apixaban, dabigatran,
rivaroxaban or warfarin: a “real-world” observational study in the United States, International Journal of Clinical
Practice, 2016; 70:752-763.
90
  Lip, et al., Real-world comparison of major bleeding risk among non-valvular atrial fibrillation patients initiated
on apixaban, dabigatran, rivaroxaban, or warfarin: a propensity score matched analysis, Thrombosis and
Haemostasis, 2016 Aug 19;116(5).

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 49 of 84




patients with nonvalvular atrial fibrillation: 15,461 initiated on warfarin (34.1%); 7,438 initiated

on apixaban (16.4%); 17,801 initiated on rivaroxaban (39.2%); and 4,661 initiated on dabigatran

(10.3%). The results of the study were as follows:

         Compared to matched warfarin initiators, apixaban (HR: 0.53; 95% CI: 0.39-
         0.71) and dabigatran (HR: 0.69; 95% CI: 0.50-0.96) initiators had a
         significantly lower risk of major bleeding. Patients initiating rivaroxaban (HR:
         0.98; 95% CI: 0.83-1.17) had a non-significant difference in major bleeding
         risk compared to matched warfarin patients. When comparisons were made
         between NOACs, matched rivaroxaban patients had a significantly higher risk
         of major bleeding (HR: 1.82; 95% CI: 1.36-2.43) compared to apixaban
         patients. The differences for apixaban-dabigatran and dabigatran-rivaroxaban
         matched cohorts were not statistically significant.

         111.     In an observational, nationwide cohort study comparing new users of

dabigatran, rivaroxaban, apixaban, and warfarin with non-valvular atrial fibrillation by Larsen, et

al.,91 no significant difference was found between the novel oral anticoagulants (NOACs) and

warfarin for ischemic stroke. In addition, the risks of death and bleeding (including major

bleeding) were significantly lower for apixaban and dabigatran compared to warfarin. Using

three (3) Danish nationwide databases (study period: August 2011-October 2015), there were

61,678 patients with nonvalvular atrial fibrillation naïve to oral anticoagulants: 35,436 warfarin

patients (57%); 12,701 dabigatran 150 mg patients (21%); 7,192 rivaroxaban 20 mg patients

(12%); and 6,349 apixaban 5 mg patients (10%). The study results were as follows:

                  When the analysis was restricted to ischaemic stroke, NOACs were not
                  significantly different from warfarin. During one year follow-up,
                  rivaroxaban was associated with lower annual rates of ischaemic stroke
                  or systemic embolism (3.0% v 3.3%, respectively) compared with
                  warfarin: hazard ratio 0.83 (95% confidence interval 0.69 to 0.99). The
                  hazard ratios for dabigatran and apixaban (2.8% and 4.9% annually,
                  respectively) were non-significant compared with warfarin. The annual
                  risk of death was significantly lower with apixaban (5.2%) and
                  dabigatran (2.7%) (0.65, 0.56 to 0.75 and 0.63, 0.48 to 0.82,
                  respectively) compared with warfarin (8.5%), but not with rivaroxaban

91
   Larsen, et al., Comparative effectiveness and safety of non-vitamin K antagonist oral anticoagulants and warfarin
in patients with atrial fibrillation: propensity weighted nationwide cohort study, BMJ, 2016:353:i3189.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 50 of 84




                  (7.7%). For the combined endpoint of any bleeding, annual rates for
                  apixaban (3.3%) and dabigatran (2.4%) were significantly lower than
                  for warfarin (5.0%) (0.62, 0.51 to 0.74). Warfarin and rivaroxaban had
                  comparable annual bleeding rates (5.3%).
         112.     In a retrospective cohort study of first-time users by FDA’s Office of

Surveillance and Epidemiology CDER FDA, David J. Graham, MD, MPH, et al.92 comparing

risks of major extracranial bleeding (including major gastrointestinal bleeding) in patients with

atrial fibrillation taking rivaroxaban 20 mg once daily and dabigatran 150 mg twice daily,

treatment with Xarelto was associated with statistically significant increases in ICH and major

extracranial bleeding, including major gastrointestinal bleeding, as compared to dabigatran. The

study included a total of 52,240 dabigatran-treated patients and 66,651 rivaroxaban-treated

patients (15,524 and 20,199 person-years of on-treatment follow-up, respectively). A total of

2,537 primary outcome events occurred. The results of the study were as follows:

         Rivaroxaban use was associated with a statistically nonsignificant reduction in
         thromboemoblic stroke (HR, 0.81; 95% CI, 0.65-1.01; P=.07; AIRD = 2.3
         excess cases/1000 person-years), statistically significant increases in ICH (HR,
         1.65; 95% CI, 1.20-2.26; P=.002; AIRD = 2.3 excess cases/1000 person-years)
         and major extracranial bleeding (HR, 1.48; 95% CI, 1.32-1.67; P<.001; AIRD
         = 13.0 excess cases/1000 person-years), including major gastrointestinal
         bleeding (HR, 1.40; 95% CI, 1.23-1.59; P<.001; AIRD = 9.4 excess cases/1000
         person-years), and with a statistically nonsignificant increase in mortality (HR,
         1.15; 95% CI, 1.00-1.32; P =.051; AIRD – 3.1 excess cases/1000 person-
         years). In patients 75 years or older with CHADS2 score greater than 2,
         rivaroxaban use was associated with significantly increased mortality
         compared with dabigatran use. The excess rate of ICH with rivaroxaban use
         exceeded its reduced rate of thromboembolic stroke.

         113.     In a nationwide cohort study by Halvorsen, et al.93 evaluating bleeding risk

in patients with atrial fibrillation prescribed dabigatran, rivaroxaban or apixaban compared to

warfarin, the risk of gastrointestinal bleeding was higher with rivaroxaban compared to warfarin.
92
   Graham, et al., Stroke, bleeding, and mortality risks in elderly medicare beneficiaries treated with dabigatran or
rivaroxaban for nonvalvular atrial fibrillation, JAMA, 2016, doi:10.1001/jamainternmed.2016.5954.
93
  Halvorsen, et al., A nationwide registry study to compare bleeding rates in patients with atrial fibrillation being
prescribed oral anticoagulants, European Heart Journal, 2016.

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 51 of 84




In addition, apixaban and dabigatran were associated with a lower risk of major or CRNM

bleeding compared to warfarin. The study consisted of a total of 32,675 patients with atrial

fibrillation: 11,427 warfarin patients; 7,925 dabigatran patients; 6,817 rivaroxaban patients; and

6,506 apixaban patients. The results of the study were as follows:

           After a median follow-up of 173 days (25th-75th percentile 84, 340), 2,081
           (6.37%) patients experienced a first major or CRNM bleeding. Using a Cox
           proportional hazard model adjusting for baseline characteristics, use of
           apixaban (HR 0.70, 95% CI 0.61-0.80, P<0.001) and dabigatran (HR 0.74,
           95% CI 0.66-0.84, P<0.001) were associated with a lower risk of major or
           CRNM bleeding compared to warfarin whereas use of rivaroxaban was not
           (HR: 1.05, 95% CI 0.95-1.17, P=0.400). Use of dabigatran and rivaroxaban
           were associated with higher risk for gastrointestinal bleeding, while use of
           apixaban and dabigatran were associated with lower risk for intracranial
           bleeding, compared to warfarin.

           B. INRatio

           114.     Due to issues concerning the reliability of the INRatio test that was

utilized to titrate warfarin dosage levels in the treatment arm of the ROCKET trial,94 FDA,

among others, undertook a reanalysis of the ROCKET trial.

           115.     FDA’s Reanalysis of the ROCKET trial, while concluding that there was

no change in the overall risk-benefit conclusion95 of Xarelto, did find that the risk of major

bleeding events increased 7 to 10% compared to the original ROCKET results.96, 97


94
     See Section XVI for a more detailed discussion of the chronology of events surrounding the INRatio device.
95
     According to the FDA Reviewers:

           FDA used two mathematical modeling approaches to estimate the clinical outcomes results that
           might have occurred in ROCKET if a more accurate INR assay had been used to guide warfarin
           dosing, i.e., one that reported results similar to the laboratory-based assay at Duke…
           Each of these analyses predicted a small decrease in the expected rate of major bleeding in the
           warfarin arm compared to the observed rate of 3.45 events per 100 patient years in ROCKET
           (reductions in the three models ranged from 7%-10% of the observed rate)….
           Overall, these estimated reductions in the rates of bleeding events in the warfarin arm were small
           enough so that the benefits of rivaroxaban would still outweigh its risks if efficacy were not
           affected. Notably, two of these three analyses also estimated the rate of ischemic stroke, and one
           estimated the rate of the primary efficacy endpoint of total stroke + systemic embolism. Both these

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     Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 52 of 84




         C. Summary

         116.     In my opinion, some observational data and the FDA’s ROCKET Reanalysis

support a conclusion that serious adverse events associated with Xarelto therapy include a

significant risk of major bleeds relative to other oral anticoagulants. These findings further

support the need of the manufacturer to identify a helpful laboratory test to minimize serious

adverse events associated with the use of their product.




         models predicted that the rate of ischemic stroke would be increased in the warfarin arm, resulting
         in an expected improvement of the efficacy of rivaroxaban relative to warfarin….
         The information summarized above indicates that it is quite likely that patients in the warfarin arm
         of ROCKET unintentionally received higher doses of warfarin than they would have received if
         the INRatio device had provided results similar to those provided by the laboratory-based device
         at Duke. However, the effects of this increased intensity of anticoagulation on clinical outcomes
         were likely to have been quite modest. It seems very unlikely that if the device had performed
         similarly to the INR assessment device at Duke, the benefit/risk profile of rivaroxaban compared
         to warfarin would have been notably different from the profile based on the observed results of
         ROCKET. Accordingly, the conclusion we made in 2011 that the benefits of rivaroxaban in
         patients with non-valvular atrial fibrillation outweigh its risks should not be changed.
         Recommendations: 1) No changes in rivaroxaban labeling to reflect the impact of use of the
         INRatio device in ROCKET are warranted. No other major regulatory action should be taken with
         respect to rivaroxaban. 2) Our conclusions regarding the issues addressed by this review should be
         communicated to the public in a suitable manner, but not through any changes in labeling.

In regard to the Reviewers’ rationale for the recommendations, the FDA provided:
         Accordingly, the reviewers see no need for regulatory action at this time. We think that a labeling
         change to describe the modeling results would very difficult to write in a concise manner and
         might be more likely to confuse than to edify, and is not warranted. FDA might make a brief
         announcement regarding our conclusions and make this review or a summary of it available to the
         public online. A publication of our analyses in a journal might be desirable. If others think it is
         important to change labeling, we might add a simple statement that FDA has reviewed the INR
         and outcomes information in ROCKET and determined that the effect of use of the INRatio device
         on outcomes in ROCKET was too small to affect our prior conclusion that the benefits of
         rivaroxban outweigh its risks relative to warfarin.
         See FDA ROCKET AF Reanalysis Reviews, NDA 202439, Sept. 26, 2016, at pp. 1-3, 42.
96
  The 7 to 10% range in FDA’s Reanalysis comes from FDA’s results derived from multiple approaches utilized by
FDA. (See FDA Reanalysis of ROCKET AF, at p. 2). See also Schedule 20 for Table 12 from FDA ROCKET AF
Reanalysis Reviews.
97
  According to the expert report of Dr. B. Burt Gerstman, Professor of Epidemiology and Biostatistics at San Jose
State University, who performed a similar analysis and found that the increase was statistically significant (RR:
1.12; 95% CI 1.04-1.21). It has always been my common practice to rely on other statisticians for statistical analysis.


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      Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 53 of 84




XVI.       THE USE OF INRATIO IN THE ROCKET CLINICAL TRIAL

           117.   Xarelto sponsors utilized a Point-of-Care (POC) device in the ROCKET

 clinical trial that was subsequently recalled.98

           118.   The Alere, formally known as HemoSense, INRatio INR Monitor POC

 device was used to monitor INR Levels in ROCKET patients.99

           119.   On January 22, 2007, Janssen’s Dr. William Byra circulated in an email to

 colleagues at Janssen an October 4, 2005 FDA Warning Letter sent to the manufacturer of the

 INRatio device stating: “Our review indicates that your firm has information indicating that

 INRatio devices were generating clinically significant erroneous values.”100

           120.   On October 17, 2007, Janssen’s Dr. Christopher Nessel and colleagues received

 an email from Dr. Jonathan P. Paccini at DCRI, with the subject line “POC / SAE,” stating:

                  I received a number of helpline calls this morning regarding a
                  ROCKET patient at site #11008 (PI Luten, SC Shannon Douglas).

                  Apparently, this patient was warfarin naïve and was being titrated on
                  study drug, when he presented with hematuria. His POC in the office
                  was 2.9. Four hours later, he developed severe epistaxis which required
                  hospitalization. He had an “unblinded” INR > 10. He received 4 units
                  of FFP and IV vitamin K. ENT packed his nose and called me. I spoke
                  with the ENT team, and helped them formulate a plan. I also asked
                  them to keep the INR and other info to themselves due to the blind, but
                  the study MD had already tracked down the information.

                  The study PI, study coordinator, and family are very upset. The PI has
                  concern that the POC device is defective, since there was a 7 unit
                  different in the INR between the POC and serum assay within 4 hours.
                  Apparently, they had a previous episode of what they considered “bad
                  POC data,” though on hearing the prior case, it sounded more like the
                  usual travails of starting warfarin/study drug…101
 98
      XARELTO_BHCP_07995641.
 99
      XARELTO_BHCP_07995641.
 100
       XARELTO_JANSSEN_04962074, 04962075.
 101
       XARELTO_JANSSEN_03933641.

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  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 54 of 84




          121.   This bleeding event was recorded in the patient’s case file as a Serious Adverse

Event by the investigator to be reviewed by the ROCKET Independent Data Monitoring

Committee (IDMC), was reviewed by Jonathan Piccini, a member of the Executive Committee,

on February 19, 2009, and was reported as a Serious Adverse Event to the FDA by the sponsor

on July 14, 2009. These reports did not disclose evidence of device malfunction.102,103

          122.   On October 19, 2007, Dr. Paccini sent another email to his colleagues at DCRI,

which was then forwarded to Dr. Nessel and other Janssen colleagues, with a subject line of

“Another POC problem,” which stated:

                 I just got off the phone with another troubling helpline call. Rhonda
                 Olmstead (SC in Lincoln, NE – site #1028) called me regarding a
                 patient with AF and diabetes who came into clinic on 10/17 with a
                 POC INR of 1.7. The patient’s warfarin was changed from 2 mg 5 days
                 a week with 2.5 Tu/Th to a new regiment [sic] of 2.5 daily. 48 hours
                 later the patient had an appt with his PCP for diabetes, etc. His PMD
                 checked a lab INR and unfortunately communicated the result to the
                 ROCKET cardiologist. The lab INR was >6 [~48 hrs after the POC].
                 The [sic] called because she thought the patient need [sic] to be treated
                 as if he was formally unblinded. We reviewed the difference, but she
                 remains concerned (as am I) about the INR discordance…104

          123.   On October 29, 2007, Janssen’s Catherine Vanden Boom sent an email to

colleagues regarding “ROCKET – INR Draft Proposal” attaching two documents entitled

“ROCKET INR Education” and “Covance INR QC Proposal DRAFT1.”105

          124.   The “ROCKET Proposal for QC Checks of HemoSense Device” stated:

                 Issue: The ROCKET study lacks a mechanism to check the accuracy of
                 the HemoSense device. Although rare, a few investigator sites have
                 expressed concern regarding the accuracy of the Point of Care (POC)


102
      XARELTO_JANSSEN_00020831.
103
      XARELTO_JANSSEN_18681720 at XARELTO_JANSSEN_18681922.
104
      XARELTO_JANSSEN_11444538.
105
      XARELTO_JANSSEN_04961856.

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  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 55 of 84




                 device. In addition, the unblinded INR monitor could also request a QC
                 check.

                 Draft Proposal: QC checks of the HemoSense device (i.e., concurrent
                 INR testing) could be triggered by investigator (e.g., investigator
                 contacts Parexel or the DCRI hotline) or by the unblinded monitor
                 (UM). At this time, it is felt that a “random” surveillance of sites is not
                 necessary since the device has been validated by the manufacturer and
                 approved by the FDA. The site would be responsible for obtaining a
                 blood sample for PT as well as the standard INR reading through the
                 HemoSense device. The PT blood samples would then be shipped to
                 Covance for analysis. The report would only be available to the
                 unblinded monitor.106

          125.   The “ROCKET Proposal for Additional Education on HemoSense Deivce,” dated

October 26, 2007, identified the issue as follows: “There is concern on the part of DCRI, Parexel

and the investigator sites with the accuracy of the POC device. In addition, the unblinded

monitor has suggested site education on the INR shamming.”107

          126.   On January 23, 2008, Janssen’s Kimberly Schwabe sent an email to colleagues,

including Drs. Byra and Nessel, regarding “ROCKET INVESTIGATOR 972022 SUBJECT

#103804,” which included the following email from Parexel’s Daniel Smutek:

                 I have had a question from Israeli CRA this morning.

                 Q: The patient has a minor bleeding from mucosas and skin. The POC
                 INR was 2.0 and then for some reason somebody (maybe other clinic)
                 decided to perform unblinded INR which was 10.0.

                 A: The safest is to interrupt study drug temporarily, and put the patient
                 on open label warfarin on LMWH for some time (or without
                 anticoagulation on the discretion of the investigator)…108




106
      XARELTO_JANSSEN_04961857.
107
      XARELTO_JANSSEN_04961858.
108
      XARELTO_JANSSEN_07545439, p. 6.

                                                  54
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 56 of 84




          127.   This bleeding event was recorded in the patient’s case file as a Serious Adverse

Event by the investigator to be reviewed by the ROCKET Independent Data Monitoring

Committee (IDMC), was first reviewed by a member of the Executive Committee on February

13, 2009, and was submitted to the FDA as a Suspect Adverse Reaction Report on March 12,

2008. These reports did not disclose evidence of device malfunction.109, 110

          128.   On January 28, 2008, Dr. Byra sent an email to Bernard Chalecki, the unblinded

INR monitor for ROCKET, regarding “FW: RocketAF_090003_104237_SAE,” which

forwarded the following conversation between Sunerli Hande and Zuzana Capkova:

                 Patient 104237 visited the emergency room of Yesilyurt Hospital
                 yesterday evening they had tested the INR and the result was: 6.66.
                 Then the doctors of that hospital forwarded the patient to our site, this
                 morning before our investigators notice of the event they had
                 performed another INR test and the result was: 6.28.
                 Then PI called and informed me and I had advised him to perform
                 blinded INR test and the result was: 1.7.

                 So PI got confused because of the huge difference of the test results.
                 For now I had told PI to hold on the study drug for at least one day
                 according to your advice.
                 I am waiting your feedback for further actions.111

          129.   This event of discrepant INRs was not reported as a Serious Adverse Event in the

study, though the relevant hospitalization was recorded in the patient’s case file by the

investigator and submitted to the FDA as a Suspect Adverse Reaction Report on March 12, 2008.

These reports did not disclose evidence of device malfunction.112,113



109
      XARELTO_JANSSEN_00019462.
110
      XARELTO_JANSSEN_07233841, at XARELTO_JANSSEN_18681895.
111
      XARELTO_JANSSEN_14557758 at p. 3.
112
      XARELTO_JANSSEN_00020185.
113
      XARELTO_JANSSEN_07234059, at XARELTO_JANSSEN_18681902.

                                                 55
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 57 of 84




           130.     In a letter to ROCKET investigators dated February 21, 2008, Dr. Nessel

explained a new procedure involving a “special kit for collecting single samples for a SPECIAL

BLINDED INR” that was “designed to assist investigators who believe that a subject’s INR

values obtained with the HemoSense point of care (POC) device are greatly different from what

was expected.”114

           131.     The letter further instructed investigators to “collect venous blood in the tub

provided and…send the frozen specimen…to Covance in the container provided. Perform a POC

INR reading at the same time so that a comparison can be made…The unblinded INR monitor

for the ROCKET study will receive the results and the site will be contacted.”115

           132.     Regarding this new program, Dr. Nessel testified as follows:

                    Q.      So, sir, you – but you understand, sir, that one – you sent out the letter in
                    Feb. 8, 2008, to every site around the country, around the world, because you
                    know they had concerns about the accuracy of this device. And you set up a whole
                    special separate program where Bud Chalecki [the unblinded INR monitor]
                    would get sent the results of the CoVance unblinded lab samples. You know about
                    that, don’t you?
                    …
                    Sir?
                    …
                    A.      So there were rare and isolated questions brought to the attention of the
                    sponsor about the performance of the device. The sponsor proactively put in
                    measures. We called it the CoVance recheck system where patients who presented
                    at an office clinic would have a point-of-care INR test done and then a laboratory
                    test done and sent to CoVance central laboratories.116

           133.     Janssen’s Dr. Peter DiBattiste testified regarding the Covance Recheck Program

as follows:


                    Q.    But the principal reason was to enact -- to use this program whenever the
                    POC generated a result that was greatly different from what was expected?
114
      XARELTO_JANSSEN_07050218.
115
      XARELTO_JANSSEN_07050218.
116
      Deposition of Dr. Christopher Nessel, Feb. 16, 2016, 169:4-170:9.

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  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 58 of 84




                    A.       Yeah. My understanding is, as we have discussed, that it was put in place
                    to -- to -- as part of the investigation that we referred to in prior documents, to
                    provide an opportunity for investigators when they suspected that they might have
                    a result that they didn't think was accurate, to validate it.117

           134.     Janssen’s Dr. William Byra testified regarding the Covance Recheck Program as

follows:

                    Q.     As of February 2008, this was available for any investigator or any
                    monitor that had any issue or any question about one of these 320,000 lab tests
                    that were taken; is that right?

                    A.       Yes.

                    Q.     All right. Before February of 2008, if an investigator had a question about
                    an INR reading or test, what was their procedure to follow?

                    A.      If there was a question we would – we would discuss it with them, and
                    then I would notify Mr. Chalecki of the issue and – and see if he could, just from
                    looking at it, determine what was going on. And if we couldn’t, we at that point
                    would send a new device to the investigator.

                    Q.       The procedure was formalized as of February 2008?

                    A.       Yes.

                    Q.       Okay.
                    …

                    Q.     Mr. Chalecki had access to the actual lab value as well as the point-of-
                    care reading; is that right?

                    A.     That’s correct. He could, you know, check it just by – go on his computer
                    and check the lab value.

                    Q.    He was unblinded. He knew whether a patient was taking warfarin or
                    whether a patient was receiving rivaroxaban?

                    A.       Yes.118


117
      Deposition of Dr. Peter DiBattiste, April 12, 2016, 217:16-218:8.
118
      Deposition of Dr. William Byra, April 6, 2016, 742:19-745:19.


                                                           57
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 59 of 84




           135.     Dr. DiBattiste testified as follows:


                    Q.     Well, what was the protocol -- and we'll get into the CoVance recheck
                    program more, but what was the -- so if -- if Mr. Chalecki saw a paired sample
                    and he saw that the lab INR was three units higher than the device INR, what
                    was he supposed to do? How -- how does one address that issue -- that
                    circumstance?

                    A.    My understanding -- so -- so you are talking specifically about the
                    CoVance program?

                    Q.       Yes, sir.

                    A.     So my understanding was that he needed to get back to the site and let
                    them know that the results were either generally consistent or inconsistent, in
                    which case they would be encouraged, I believe, to -- to recheck the value.119

           136.     Dr. Nessel further testified:


                    Q.     Okay. And that secondly, with respect to the CoVance recheck program,
                    with respect to the CoVance recheck program –
                    A.       Yeah.
                    Q.     Where Mr. Chalecki would have access to split samples, one – one
                    analyzed by a central lab CoVance and the other analyzed by the INRatio device,
                    correct?
                    A.       Yes.
                    Q.       How – how many times was that conducted?
                    A.       A hundred and – about 140.120
           137.     On March 14, 2011, FDA’s Alison Blaus sent an email to Janssen’s Alla Rhoge

and Sanjay Jalota, with a subject line of “NDA 202439 – Clinical IR” that stated a number of

requests regarding the INRatio device in ROCKET, including “any available information on the

performance characteristics of the device(s) beyond the information found in labeling.”121

119
      Deposition of Dr. Peter DiBattiste, April 12, 2016, 194:2-20.
120
      Deposition of Dr. Christopher Nessel, February 16, 2016, 218:24-219:13.
121
      XARELTO_JANSSEN_04932509.

                                                            58
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 60 of 84




           138.     Regarding that request on March 14, 2011, Dr. Byra testified as follows:

                    Q.      [You] didn’t provide the CoVance recheck program in response to that e-
                    mail, right?

                    A.       No.122

           139.     The INRatio device was subject to an FDA Class I recall on December 5, 2014,

which stated: “The Alere INRatio Monitor System may provide an INR result that is lower than

expected result [sic] obtained using a laboratory INR method.”123

           140.     In a report dated February 5, 2016, the EMA stated that “on September 9,

2015,124 [Janssen Research & Development, LLC] became aware through a 3rd party that the

recall notice of the Alere INRatio device might be applicable to the HemoSense INRatio devices

used in the ROCKET AF trial program as well…[The sponsors] informed the respective Health

Authorities per local regulations and practices in their respective territories…in parallel, as soon

as the applicability of the device recall was confirmed by Alere.”125

           141.     EMA subsequently investigated the impact of the INRatio device on the

ROCKET trial, and requested additional analyses from the sponsor.126

           142.     In its assessment report, EMA stated:

                    The preliminary data provided on INR values estimated simultaneously
                    on weeks 12 and 24 with the two methods (POC device vs. laboratory
                    testing) indicate that discrepancies of potential clinical relevance were
                    rather frequently observed (approximately in 35% of the estimations).
122
      Deposition of Dr. William Byra, April 5, 2016, 335:11-14.
123
   FDA Class I Recall Notice, “Alere San Diego, Inc., Alere INRatio and INRatio2 PT/INR Monitor System
(Professional and Prescription Home Use) – Falsely Low INR Test Results,” dated Dec. 5, 2014.
124
  However, Janssen internal documents indicate that Alla Rhoge, Associate Direct, Regulatory Leader, received an
email pertaining to the Alere INRatio recall in December 2014. See, e.g., XARELTO_JANSSEN_14522268.
125
   EMA CHMP Assessment report dated 5 February 2016, pp. 5-6. It is my understanding that when the sponsors
purchased the INRatio devices and testing strips for use in ROCKET, HemoSense Inc. was the manufacturer, but
was subsequently purchased by a company now known as Alere.
126
      EMA CHMP Assessment report dated 5 February 2016, p. 3.

                                                          59
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 61 of 84




                   The majority of these discrepancies were related to a lower device INR
                   value compared with Lab INRs. Cross tabulations are requested for the
                   number of test results with Lab INR vs. POC INR for the following
                   four categories: INR<2, 2-3, >3-4 and > 4.127

           143.    The EMA assessment report presented the following information128:




           144.    The EMA assessment report concluded:

                   The manufacturer of the point of care INR device (Alere Inc.TM) has
                   identified that the device in certain clinical conditions gave
                   inappropriately low INR values. The device was used for titration of
                   the warfarin doses in the rocket AF study. The MAH of Xarelto was
                   requested to provide clarification and further information in order to
                   assess the potential impact on the pivotal Rocket AF study results
                   supporting the the indication for rivaroxaban in the prevention of
                   thromboembolism in non-valvular atrial fibrillation (The “Rocket AF”
                   study). All requested analyses have been provided.

                   The inappropriately low INR values observed with the device as
                   indicated in the device correction notice of Alere were in some
                   instances reported to be clinically relevant leading to increases of anti-
                   vitamin K agents with resulting increased bleeding tendency. Thus it
                   was considered relevant to further investigate the impact of potentially
                   inaccurate device INR estimations, that could have had on the study
                   results. A major concern would be that the described deficiencies could
                   lead to an increased bleeding rate in the control arm of the trial
                   (warfarin) which would potentially hamper the interpretations of the

127
      EMA CHMP Assessment report dated 5 February 2016, p. 21.
128
      EMA CHMP Assessment report dated 5 February 2016, p. 28.

                                                      60
Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 62 of 84




          differences between treatment arms. The investigations performed and
          possible conclusions that can be made from them are summarised
          below[.]

          Numerous extensive sensitivity analyses have been performed in order
          to estimate the potential impact on the study outcome.

          The MAH initially performed three sensitivity analyses were based on
          the information provided by the INR device manufacturer (Alere) and
          taking both chronic and acute clinical conditions into account. Patients
          who were judged to have had any recall related clinical condition ahead
          of any endpoint event are excluded in the second of these sensitivity
          analyses which resulted in an exclusion of approximately 31% of the
          patients. The first and third sensitivity analyses are focussing [sic] on
          the time periods when such events occurred and fewer patients are
          excluded in these analyses. In all three analyses minor changes in the
          hazard ratios between the rivaroxaban and warfarin study arms were
          observed as compared to the original analyses. For the sensitivity
          Analysis 2 considered to be the most conservative analysis of the three
          analyses provided, warfarin was almost nominally statistically
          significantly better than rivaroxaban for the principal safety endpoint,
          major or clinically relevant bleedings (p = 0.092, HR: 1.08 (CI: 0.99,
          1.17)).

          As can be seen in Table 2, the pattern of bleeding components was
          different between rivaroxaban and warfarin with death due to bleeding,
          critical organ bleeding and intracranial haemorrhage being nominally in
          favor of rivaroxaban. This differential pattern remained unchanged in
          the sensitivity analyses cited above. (table 8). There was no indication
          that the most serious bleeding events on warfarin were related to recall
          related clinical conditions or events.

          There are uncertainties related to the sensitivity analyses above
          discussed. In particular the available information is probably somewhat
          limited e.g. fibrinogen levels have not been measured regularly and is
          rarely measured in clinical routine. The analyses were based on the
          assumption that INR values are only affected in case of recall related
          conditions. This issue was addressed by additional analyses.
          In a second step, these additional sensitivity analyses were provided
          upon request from CHMP. These analyses were focussing [sic] on the
          paired samples that were taken simultaneously at weeks 12 and 24 of
          the trial. In addition to the Alere device estimated INR, a laboratory
          prothrombin time measurement was made. The primary intention of
          this exercise was to evaluate the potential impact of rivaroxaban on
          prothrombin time during the Rocket AF trial. In retrospect, however, in
          view of the INR device issue under discussion, an INR ratio could be

                                          61
Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 63 of 84




          calculated allowing comparisons of the INR values as estimated by the
          two methods. (INR device and INR laboratory values calculated from
          the two sampling time points at week 12 and week 24).

          The MAH has, as requested, provided Bland-Altman plots comparing
          the estimations made by the two methods (INR device and INR
          calculation based on the laboratory values). From visual impression of
          the Bland-Altman plots, it indicates that the majority of discrepancies
          were related to lower device based INR value as compared to the Lab
          INR value. This was also further elucidated when looking at the cross
          tabulations made based on clinically relevant INR categories which
          showed that 34% (1961 out of 5766) of the measurements has a lower
          device INR compared with lab INR (discordant values).The reverse,
          that the device INR was higher compared with the Lab INR, was
          observed in only 4% of the measurements (discordant values).
          However, consistency,( i.e. that the measurements fell in the same INR
          category), was observed in 62% of the instances ( concordance), The
          subjects with and without concordance whether further investigated to
          explore the impact of the device values. The principal safety endpoint
          event rates for subjects with and without concordance at Week 12 and
          at Week 24 were dissimilar (12.9/100 pt-yrs vs 14.0/100 pts-yrs, and
          12.6/100 pt-yrs vs 13.6/100 pts-yrs, respectively), although closer with
          and without concordance at both week 12 & 24 (12.2/100 pt-yrs vs
          12.9/100 pts-yrs, respectively). Based on these analyses modified event
          rates in the warfarin arm were calculated and compared with the
          observed event rates in the rivaroxaban arm. The impact on the
          originally reported Hazard Rate Ratios was small as seen in table 8.

          Theoretically, the differences observed could, on group level, depend
          on higher warfarin doses than necessarily needed in patients with
          discrepancy. However, the differences above discussed are rather small,
          and when taking also efficacy data in these analyses into account it
          appears reasonable to conclude that the characteristics and risks in
          these non-randomised groups differ from the overall study population.
          This is further supported by the additional analyses provided by the
          MAH where a very similar pattern for the safety end-points is observed
          in the rivaroxaban patients and where doses were not adjusted.
          Furthermore, when looking at the patients who have no paired samples
          it becomes even more apparent that the sensitivity analyses reflect
          subsets of patients that are not representative for the over-all study
          population.

          The CHMP acknowledges that there are also limitations related to the
          above analyses as they only represent two specific time points during
          treatment approximately 11.000 out of 160.000 INR measurements
          which were performed during the study.

                                          62
Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 64 of 84




          A single lab INR cannot be regarded as a true “golden standard”.
          However, there is since long an awareness of the important influence
          different thromboplastins with different sensitivity have on the size of
          the prothrombin time prolongation. The INR calculations compensate
          for these differences. Among the frequently used routine coagulation
          tests laboratory INR testing is probably one of the best standardised
          methodologies. Point of care devices for INR estimations are generally
          speaking probably somewhat less well standardized however, they have
          important feasibility advantages together with sufficient reliability
          which could justify their use preferable in clinical studies or in clinical
          routine for individual patients. There is also available extensive
          external evidence, important to take into consideration when evaluating
          the bleeding events in the Rocket AF trials. The incidences and the
          characteristics of bleedings induced by rivaroxaban in comparison with
          warfarin were characterised in other large clinical trials supportive of
          the indication for secondary prevention of DVT/PE. The Alere INR
          device was not used in these studies. When looking at the
          characteristics of the study populations in the DVT/PE prevention
          studies and the doses of rivaroxaban used , they are rather similar to the
          Rocket AF trial. The targeted INR was also identical. Therefore, the
          DVT/PE prevention studies are considered relevant for external
          validation purposes. It can be noted that in the pooled analyses of the
          DVT and PE studies, the major and clinically relevant bleedings were
          numerically fewer and major bleedings significantly fewer in the
          rivaroxaban arm (HR 0.93, 95% CI 0.81;1.06 and HR 0.55, CI 0.34,
          0,79, respectively). The bleeding characteristics were similar to those
          observed in the Rocket AF trial.

          The bleeding rates and the bleeding characteristics in the warfarin arm
          in the Rocket trial is also within the expected range as the one
          described in the literature. Furthermore the analyses of the components
          of the primary safety endpoint, critical organ bleeding, fatal bleeding,
          ICH, clearly favoured the rivaroxaban group as did all-cause mortality.
          These differences remained largely unaffected in the sensitivity
          analyses performed and taking also the size of the differences into
          account they are considered to be robust. They are also consistent with
          the bleeding pattern seen for the other available oral Xa-inhibitors.

          The conclusions derived from the Rocket AF trial are supported by the
          performed sensitivity analyses and by external evidence from large
          trials in other therapeutic areas comparing the efficacy and safety of
          rivaroxaban vs warfarin. The incidence of major and clinically relevant
          bleedings among the warfarin treated patients in the Rocket AF trial
          compares also well with the bleeding incidences observed in recently
          performed trials in AF populations. Incidences of major bleedings in

                                           63
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 65 of 84




                   warfarin arms in the dabigatran, apixaban and edoxaban pivotal trials in
                   atrial fibrillation were 3.6, 3.1 and 3.4%, respectively, as compared to
                   3.5% in the Rocket AF trial.

                   It is agreed with the MAH that further analyses are not expected to
                   provide additional information of substantial value.

                   In conclusion, the CHMP considered that there is sufficient evidence to
                   conclude that the benefit/risk balance remains unchanged and
                   favourable for treatment with rivaroxaban in the prevention of
                   thromboembolism in non-valvular atrial fibrillation.

                   The CHMP also considered that the information provided in the SmPC
                   is currently appropriate and does not warrant any amendment. The
                   modified calculated INR values discussed in this report should be
                   viewed as informative for the assessment of the INR values provided
                   by the faulty device. Taking into account the extent of the potential
                   impact of the modified INR values and the limitations of the post hoc
                   sensitivity analyses, it is considered that an update in the SmPC section
                   5.1 is not relevant and would provide more confusion to the
                   prescriber.129

           145.    In a ROCKET Task Force meeting on September 22, 2015, Bayer’s Dr.

Berkowitz referred to the sensitivity analyses submitted to EMA as “fishing expeditions” that

hold “almost no weight” and “can easily be turned to say what one does or does not want to

hear.”130

           146.    Correspondences between the sponsors and FDA occurred concerning the FDA

and the sponsors’ investigations into the impact of the malfunction in the ROCKET trial, with

the sponsor’s responses submitted on the follow dates: September 29, 2015; October 15, 2015;

November 16, 2015; December 14, 2015; December 21, 2015; December 23, 2015; January 21,




129
      EMA CHMP Assessment report dated 5 February 2016, pp. 38-41.
130
      XARELTO_BHCP_07993872.


                                                      64
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 66 of 84




2016; February 1, 2016; February 5, 2016; March 7, 2016; March 22, 2016; April 1, 2016; April

18, 2016; May 6, 2016; and May 13, 2016.131

          147.   As part of IND 75238, on January 12, 2016, FDA’s Dr. Norman L. Stockbridge,

Director, Division of Cardiovascular & Renal Products, Office of Drug Evaluation I, CDER,

submitted an Information Request to Janssen’s Purve Patel, Director, Global Regulatory Affairs,

that referred to Janssen’s IND for Xarelto and to “amendments dated 29 September, 15 October,

16 November, and 14 December 2015.”132

          148.   FDA noted that those amendment submissions “contained information related to

the potential impact of the recall of the Alere INRatio Monitor System, which was the Point of

Care (POC) Device utilized to measure INR in the Phase 3 ROCKET-AF study. The submission

also contained various sensitivity analyses conducted by you [Janssen] as well as those requested

by the European Medicines Agency (EMA).”133

          149.   The Information Request further stated, “Upon review of the above submissions,

we have the following comments and requests for additional information. Please note that these

requests are not clinical hold issues. However, response to them is requested.”134

          150.   The first request included in the January 12, 2016 Information Request was as

follows: “1. Please provide reports of any serious adverse event reports mentioning the INRatio

device in ROCKET-AF.” 135

          151.   Regarding that request, Dr. DiBattiste testified as follows:


131
      XARELTO_JANSSEN_24277161 at p. 3.
132
      XARELTO_JANSSEN_18501728, p. 1.
133
      XARELTO_JANSSEN_18501728, p. 1.
134
      XARELTO_JANSSEN_18501728, p. 1.
135
      XARELTO_JANSSEN_18501728, p. 1.

                                                  65
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 67 of 84




                    Q.     You said you were made aware that there were some patients around
                    whom concerns existed and that there were adverse bleeding events. Would you
                    agree that those are exactly the type of situations in patients that the FDA was
                    seeking information about in their January 12, 2016, information request?

                    A.       Possibly.136

           152.     On February 5, 2016, in response to that first FDA information request dated

January 12, 2016, the sponsors stated the following:

                    There are 7,518 SAEs in the Bayer Global Pharmacovigilance Safety
                    Database for the ROCKET AF Study. Janssen Global Medical Safety
                    Data Analysis Group performed a search and identified 69 of the 7,518
                    (0.9%) SAE cases in which the narrative contained any of the following
                    keywords:

                            Hemosense
                            INRatio
                            Point of care
                            POC
                            Device137

           153.     Regarding the particular incident discussed in paragraphs 120-121,138 Dr.

DiBattiste testified:


                    Q.     You would agree with me that's pretty much exactly what the FDA was
                    asking for, right?

                    A.       That's the topic.
                    …

                    Q.      Separate and apart from this being an adverse event report, you agree
                    that this type of information, this narrative, is exactly the type of information that
                    the FDA was asking for on January 12, 2016, when they were conducting their
                    investigation into this topic?

                    A.      I would say that if this were in an adverse event report, then I would say
                    that the answer to that is yes.139

136
      Deposition of Dr. Peter DiBattiste, April 12, 2016, 162:2-10.
137
      XARELTO_JANSSEN_16397478, p. 3.
138
      See XARELTO_JANSSEN_03933641.

                                                            66
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 68 of 84




           154.     The above response did not include the four instances of suspected device

malfunction discussed above in paragraphs 120-129.

           155.     The January 12, 2016 FDA Information Request also included the following

request:

                    5. Please provide a summary report of information collected by the
                    unblinded physician, if available and elaborate on the role and
                    responsibilities of the unblinded physician that monitored the warfarin
                    patients. Please explain whether the unblinded physician had access to
                    the laboratory-based INR determination performed as part of the PK-
                    PD substudy in ROCKET-AF and when.140

           156.     On February 5, 2016, in response to that FDA information request dated January

12, 2016, the sponsors stated the following:

                    The ROCKET AF study utilized an unblinded INR monitor (Bernard
                    Chalecki)…His primary responsibility on the ROCKET AF study was
                    to monitor trends among POC device INR values and to identify any
                    overt aberrations (e.g., persistently high INRs)…Mr. Chalecki would
                    have the ability to contact either the investigator or the Sponsor’s
                    medical monitor to discuss (in a blinded manner) any concerns about
                    the INR. Likewise, the Sponsor’s medical monitor could contact the
                    unblinded INR monitor.

                    At his discretion, the unblinded INR monitor had the ability to contact
                    an unblinded physician, Dr. Stephanie Perry, a hematologist from Duke
                    University Medical Center…She was available on an as needed basis to
                    discuss issues about INRs…Finally, the unblinded physician did not
                    have access to the laboratory-based INR determinations performed as
                    part of the PK-PD substudy in ROCKET-AF.141

           157.     Regarding the sponsor’s above response to the FDA Information Request, Dr.

Nessel testified as follows:



139
      Deposition of Dr. Peter DiBattiste, April 12, 2016, 165:8-166:16.
140
      XARELTO_JANSSEN_18501728, p. 1.
141
      XARELTO_JANSSEN_16397478, p. 7-8.

                                                           67
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 69 of 84




                    Q.      Sir, do you believe that this response, the FDA information request, with
                    respect to the roles and responsibilities of Mr. Chalecki, is full and complete?

                    A.       Well --

                    Q.       Either you do or you don't.

                    A.     Let me put a finer point on it. A summary of the report of information, the
                    roles and responsibilities, so yes, it is a full and complete report of the roles and
                    responsibilities of the unblinded physician.
                           It is a full and complete explanation or answer to whether the physician
                    had access to unblinded INR determinations, performed as part of the PK-PD
                    substudy. It is an accurate response to the FDA's question.

                    Q.     Is it true that one of the roles and responsibilities of Mr. Chalecki was to
                    compare INR values generated by the INRatio device with split samples analyzed
                    by other methods?

                    A.       That was part of his --

                    Q.       Responsibilities?

                    A.       -- responsibilities, yes.

                    Q.       So then why is that responsibility not included in this information request,
                    sir?

                    A.     I believe it is subsumed in -- his primary responsibility, it stated, on the
                    ROCKET-AF study was to monitor trends, et cetera.142
                    …
                    Q.     The CoVance recheck fell under the rubric -- the roles and
                    responsibilities of Mr. Chalecki, correct?

                    A.       Yes.143

           158.     This response does not mention the unblinded monitor’s role and responsibility

with respect to the Covance recheck program, specifically. As noted above in paragraphs 130-

136, Mr. Chalecki had access to both the POC and lab values for the samples taken per the

Covance Recheck Program instructions.


142
      Deposition of Dr. Christopher Nessel, Feb. 16, 2016, 167:13-169:3.
143
      Deposition of Dr. Christopher Nessel, Feb. 16, 2016, 173:18-22.

                                                          68
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 70 of 84




           159.        Further, in response to FDA’s January 12, 2016 Information Request, specifically

request number five (5), the sponsors did not provide a summary report of information collected

by the unblinded physician, if available.

           160.        Janssen’s Dr. Byra created a spreadsheet144 containing, among other data, the

following information regarding patients enrolled in the ROCKET trial:

                a. Patient 104078, on June 19, 2008, “[s]ome discrepancy.”

                b. Patient 104078, on July 3, 2008, “INRs are discrepant by 1. Site to receive new
                   devices and strips.”

                c. Patient 106080, on August 13, 2008, “[b]linded INR not consistent with
                   HemoSense.”

                d. Patient 110000, on October 23, 2008, “[d]iscrepancy exists, but the subject still
                   within target range.”

                e. Patient 102310, on February 27, 2008, “INR high from Covance replace
                   machines.”

                f. Patient 113483, on March 12, 2009, “INR higher than expected and subject may
                   be taking exogenous warfarin.”

                g. Patient 111178, on July 28, 2009, “INRs discrepant.”

                h. Patient 108508, on April 23, 2009, “blinded INR higher (2.0) than POC device.”

                i. Patient 112708, on May 15, 2009, “INR discrepant with POC.”
144
      See Deposition of Dr. William Byra, Apr. 6, 2016, 744:16-24:

           Q. What is Exhibit 51?

           A. This is a spreadsheet that I – I kept when we started the CoVance recheck system.

           Q. Who prepared Exhibit 51?

           A. I did.

           Q. Are the comments and the notes yours in Exhibit 51?

           A. Yes.

                                                          69
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 71 of 84




                j. Patient 106355, on February 8, 2010, “INR is 2 units higher than POC.”145

           161.     The information cited in the prior paragraph was provided to Dr. Byra by Mr.

Chalecki, the unblinded monitor. Dr. Byra testified as follows:


                    Q.     And I think we've talked about the 340,000 INRs that were taken during
                    the course of the study. And was it Mr. Galecki's responsibility to review all of
                    those INRs?

                    A.       Chalecki.

                    Q.       Chalecki. I'm sorry.

                    A.     He would look at them. And, again, there weren't 340,000 all in one day.
                    But he would go down the -- his spreadsheet that he created and would call if
                    there were anything unusual that he would see.146
                    …

                    Q. The comments in the far right-hand corner of the document [Exhibit Byra 51,
                    XARELTO_JANSSEN_18512019], where do those comments come from?

                    A. It was -- the comments came from either e-mails or conversations from Mr.
                    Chalecki or whatever was the final outcome of -- that's this particular sample
                    and what was done with it.147

           162.     According to Dr. DiBattiste, the sponsor did not provide the information

referenced in paragraph 160 to the FDA:


                    Q.     And how about the data generated as part of that program? When, if
                    ever, was that communicated to the FDA?

                    A.      Never. We haven't seen it yet. And, in fact, it hasn't been formally
                    transferred to us from CoVance yet after all the quality checks.
                            So -- so I would say never.




145
      XARELTO_JANSSEN_18512019
146
      Deposition of Dr. William Byra, April 6, 2016, 636:16-637:4.
147
      Deposition of Dr. William Byra, April 6, 2016, 745:1-8.

                                                          70
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 72 of 84




                    Q.      Okay. Both Dr. Byra and Dr. Nessel testified that they had seen -- they
                    had a spreadsheet of the 140-some-odd instances it was used, and they reported
                    that discrepancies were observed, I think 14 -- 14 -- in 14 instances.

                    A.       Right. So --

                    Q.       Does that sound familiar?

                    A.      Well, it sounds somewhat familiar, but I can tell you that we are getting
                    the formal quality control results from CoVance, but we don't have them yet.
                            So what they have is, I guess, case-by-case reporting from -- from Bud
                    [Chalecki]. But -- but I think that the full dataset, again, because the program
                    did not uncover anything that we thought was material to the results of the trial,
                    or apparently even mentioned here is --148

           163.     Federal law and FDA policy emphasize the importance of applicants not omitting

any material fact in submissions to FDA (see FDA’s Application Integrity Policy and 18 US

Code 1001).

           164.     On March 7, 2016, Janssen’s Ms. Patel sent a letter to FDA’s Dr. Stockbridge

regarding INRatio, which she stated the following:

                    A number of lawsuits have been filed in federal court by plaintiffs’
                    lawyers against Janssen Pharmaceuticals, Inc. and Janssen Research &
                    Development, LLC (collectively, “Janssen”) and Bayer Healthcare
                    Pharmaceuticals Inc. and Bayer Pharma AG (collectively, “Bayer”),
                    alleging that their clients have experienced bleeding events due to
                    ingestion of the anticoagulant medicine, XARELTO®. As part of that
                    litigation, as is now customary, over 50 million pages of internal e-
                    mails, study and regulatory documents have been produced. These
                    plaintiffs’ lawyers have requested permission from the Court to provide
                    certain internal Janssen and Bayer documents, including internal
                    communications among colleagues relating to INR monitoring in the
                    ROCKET AF study, to the Agency. For transparency, enclosed are the
                    documents that the plaintiffs’ lawyers have petitioned to share with the
                    Agency.
                    …

                    The documents at issue consist of the following:

                    1. Janssen and Bayer internal communications discussing INR issues
                    (Attachments 2-7)
148
      Deposition of Dr. Peter DiBattiste, April 12, 2016, 157:51-159:2.

                                                           71
Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 73 of 84




              These communications reflect contemporaneous e-mail discussions
          at Janssen and Bayer regarding consideration of INR issues when they
          arose.

          …

          2. Covance Recheck Program in ROCKET AF (Attachments 8-9)

                  The Covance Recheck Program in ROCKET was an external
          comparison on the INR levels from the POC device to standard
          laboratory-based assessments. It was implemented to give assurance to
          investigators who had not used a POC device before that the INR level
          readings were corrected by re-checking them at a lab (Covance). All
          investigators had access to the program and were so notified in a letter
          (Attachment 9). The program was instituted in response to questions
          that were received from investigators who were accustomed to getting
          INRs from the labs.

                  There were 142 inquiries from investigators who availed
          themselves of the recheck program in a study of more than 14,000
          patients over three years. Most of the time, the values from the POC
          device and the lab re-check were consistent. There were just 16
          instances identified from the 142 inquiries where the value from the
          POC device and lab were recorded as inconsistent. There were also
          instances where the device appeared to not be working or the
          investigator got an error message. Those patients went to the lab and
          the unblinded monitor provided the necessary code for the dose
          adjustment. On a few occasions, sites were sent raw devices.

          3. Internal Emails Discussing Adverse Events During Study
          (Attachments 10-16)

                  In accordance with the Agency’s reporting requirements,
          adverse event reports were submitted in connection with the ROCKET
          AF study. Of the documents at issue, three involved serious adverse
          events (Attachments 11, 12 and 15), all of which were reported
          (CIOMS attached). In addition, Attachment 15 was also included as a
          narrative in the Clinical Study Report for the ROCKET
          study…Moreover, Janssen specifically addressed the question of
          serious adverse events mentioning the INRatio device posed in FDA’s
          Information Request from January 12, 2016 and provided the
          corresponding CIOMS reports in its February 5, 2016 submission.

                 Many of these communications do not involve incidents that fit
          within the definition of adverse events under the federal regulations;

                                          72
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 74 of 84




                 thus, they have not previously been submitted to the Agency
                 (Attachments 10, 13, 14 and 16). These discussions address potential
                 discrepancies with the monitoring device or other issues…

                 …

                 4. Emails About the HemoSense Warning Letters and Alere Recall
                 (Attachments 18-20)

                 …

                 5. “Helpline and HemoSense Update” (Attachments 21 and 22)149

          165.   In a presentation dated March 23, 2016, FDA Center for Devices and

Radiological Health, in analyzing the performance of the INRatio device in ROCKET, stated that

“discrepant low values that might cause a warfarin increase occurred at an alarming rate in the

ROCKET AF trial.”150

          166.   On April 4, 2016, FDA’s Dr. Stockbridge sent an Information Request letter to

Janssen’s Ms. Patel, which stated:

                 [W]e make reference to your 18 March 2011 submission to NDA
                 202439 that responded to our 14 March 2011 information request
                 during the NDA review of the ROCKET AF trial.

                 We have the following comments and requests for additional
                 information…

                        1. Please describe the purpose of the Covance Recheck Program
                        in the ROCKET AF trial. Please describe how it operated and
                        provide any trial documents describing its operations. Please
                        provide all data collected by the Covance Recheck Program as
                        well as analyses of these data performed by you or by others on
                        your behalf. Please describe all entities with access to data or
                        analyses based on data from the Covance Recheck Program. In
                        particular please indicate if the data and/analyses [sic] were



149
      XARELTO_JANSSEN_18681716.
150
      ALRX_00001447.


                                                73
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 75 of 84




                        provided to the ROCKET AF Data Monitoring Committee
                        and/or any members of the Executive Committee.151

          167.   On April 18, 2016, the sponsor submitted its “Response to FDA Request for

Information Regarding the Alere INRatio Monitor System Recall” that stated the following in

response to the above detailed request:


                 The Covance Recheck Program (hereafter Program) served several
                 purposes. During the conduct of the ROCKET AF study, it became
                 apparent that investigators who were accustomed to prescribing
                 warfarin may be uncomfortable when blinded to both the treatment
                 assignment (i.e., rivaroxaban or warfarin) and the actual INR. By
                 "checking" the INR and speaking to the Sponsor or a Helpline
                 clinician, the Program could provide reassurance to these investigators.
                 Further, the Sponsor became aware of rare and isolated incidents of
                 clinically unexpected INR values rendered by the point-of-care device.
                 The Sponsor investigated these matters and, although for most cases
                 investigated, problems other than device performance were identified,
                 realized that it would be desirable to create a mechanism that would
                 provide non-random checks of point-of-care device values via a central
                 laboratory. Importantly, however, this had to be accomplished while
                 maintaining the integrity of the study blind.

                 …

                 The results of both tests (i.e., point-of-care and central laboratory) were
                 reported only to Mr. Bernard Chalecki, the unblinded INR monitor. The
                 unblinded monitor would compare the results and advise the Sponsor's
                 study responsible physician and/or the enrolling site (See Attachment
                 1- "Blinded INRs from Covance as of June 4, 2010"). To maintain the
                 study blind, the unblinded INR monitor would only provide general
                 information about the results, depending upon the value returned by
                 Covance, the value generated by the POC device and the treatment to
                 which the subject was assigned…

                 …

                 Covance received a total of 149 samples (rivaroxaban - 78; warfarin -
                 71). There were 136 INRs (rivaroxaban - 73; warfarin - 63) performed
                 for 131 unique subjects (rivaroxaban - 71; warfarin - 60). Of the 136
                 samples run, 53 were solely for the purpose of obtaining an INR (See
                 below and Attachment 2 Data Outputs, Tables 1, 2). Of the remaining

151
      XARELTO_JANSSEN_22661447.

                                                  74
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 76 of 84




                 83 samples, 55 Covance INRs were concordant with the result from the
                 device (See Attachment 2 Data Outputs, Tables 3, 4);
                 19 were not concordant (See Attachment 2 Data Outputs, Tables 5, 6).
                 To be consistent with previous analyses, the ISO acceptance criteria
                 were used to ascertain concordance between the Covance and point-of-
                 care INR values…

                 …

                 During the conduct of the study, only the unblinded INR monitor had
                 access to the data generated by the Program. The data from the
                 Program were not disclosed to the trial's Independent Data Monitoring
                 Committee or any members of the Executive Committee. No formal
                 analyses of the data were planned during the conduct of the trial. In
                 fact, these data were not analyzed until receipt of this information
                 request.152

          168.   On April 15, 2016, Jannsen’s Ms. Patel sent an email to colleagues, including Drs.

DiBattiste and Nessel, regarding “DRAFT FDA Response” that stated: “We searched the terms

Covance, Recheck, Unscheduled INR, INR CK, and special blinded INR and did not find

reference to this program in the original NDA submission.”153

          169.   On May 27, 2016, FDA requested “revised labeling that describes the impact of

using the INRatio device in ROCKET AF on the efficacy (in section 14) and the safety (in

section 6) of rivaroxaban in the treatment of patients with atrial fibrillation.”154

          170.   In response, the sponsors stated their position “that a revision to the product

labeling is not warranted.”155

          171.   On June 14, 2016, FDA’s Dr. William H. Maisel wrote to Alere, Inc.’s Ms.

Melissa D. Guerdan, Sr. Vice President, Global Quality & Regulatory:



152
      XARELTO_JANSSEN_22661455, p. 3-5.
153
      XARELTO_JANSSEN_23097568.
154
      XARELTO_JANSSEN_24277161, p. 12.
155
      XARELTO_JANSSEN_24277161.

                                                  75
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 77 of 84




                  In response to your request, received by email May 23, 2016, and by
                  letter dated June 1, 2016, I have reviewed the decision by the Office of
                  In Vitro Diagnostics and Radiological Health (OIR) that Alere should
                  conduct a voluntary recall of the Alere INRatio PT/INR Monitoring
                  System (“INRatio System”) due to product performance concerns.156

           172.   Dr. Maisel further wrote:

                  After reviewing the information in your email dated May 23, 2016,
                  your letter dated June 1, 2016 and the documents attached and
                  referenced therein, and the administrative file, and after meeting with
                  Alere on June 3, 2016, I have concluded that there is a reasonable
                  probability that the use of, or exposure to, the Alere INRatio System
                  will cause serious adverse health consequences or death…Because this
                  is a serious public health matter, CDRH may pursue additional actions,
                  as necessary, to protect the public health.157

           173.   Finally, Dr. Maisel stated:

                  The decision is based, in part, on the following:

                  1) FDA has received more than 100 MDRs from January 2015 to April
                  2016 related to the INRatio System, including reports of serious
                  injuries and one death. Included among these reports are dozens of
                  cases of discrepant INRs where the INRatio INR value differs
                  substantially when compared with a contemporaneous reference INR.

                  2) INRatio performed poorly in ROCKET-AF. Although Alere
                  contends that continuous improvements have been made to the INRatio
                  System rendering ROCKET-AF performance “irrelevant” to the
                  currently marketed system, Alere has not submitted performance data
                  that validates the claim that the currently released and marketed device
                  (or the device with software version 1.12) has sufficiently mitigated the
                  risk of discrepant low values.158




156
      ALRX_00002510, p. 1.
157
      ALRX_00002510, p. 2.
158
      ALRX_00002510, p. 2.


                                                   76
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 78 of 84




           174.     On July 13, 2016, FDA spokeswoman Deborah Kotz stated, “Our analyses so far

indicate that effects on strokes or bleeding, including bleeding in the head, were minimal.”159

           175.     Regarding the FDA investigation, Dr. Peter DiBattiste testified:

                    Q. So to the best of your knowledge, has this – has this issue been resolved from
                    the FDA, or is there review still ongoing?
                    …
                    A. I have nothing to indicate that the review is complete. So my assumption is that
                    it is ongoing…160

           176.     In my opinion, the sponsors failed to meet their duty of a reasonably prudent drug

manufacturer by:

                a. Failing to report discrepant INR values, and associated adverse events, in
                   response to the March 14, 2011 and January 12, 2016 FDA Information Requests.

                b. Failing to inform FDA about the Covance recheck program in response to the
                   March 14, 2011 and January 12, 2016 Information Requests.

           177.     In my opinion, a reasonable and prudent manufacturer, asked by FDA, as part of

an IND application process, to provide a summary of information collected by an unblinded

physician would have provided such information. Such information was important to FDA

because FDA was investigating the impact of the use of a recalled POC device in the ROCKET

clinical trial, which evaluated the safety and efficacy of Xarelto.

           178.     In my opinion, the sponsors did not disclose to FDA, physicians, or patients that

the company was in possession of information indicating that “discrepancies of potential clinical

relevance were rather frequently observed (approximately in 35% of the estimations) [in

ROCKET].”161


159
  Hilzenrath, D.S. FDA Says Faulty Devices Had “Minimal” Impact on Trial Led by NewBoss. Project on
Government Oversight. July 13, 2016, http://www.pogo.org/blog/2016/07/fda-faulty-devices-had-minimal-
impact.html
160
      Deposition of Dr. Peter DiBattiste, July 20, 2016, 820:18-821:3.
161
      EMA CHMP Assessment report dated 5 February 2016, p. 21.

                                                           77
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 79 of 84




           179.    As reported by the sponsor, FDA’s Dr. Temple “volunteered his opinion that the

problem should not have created bias in favor of riva efficacy thought it might have impacted

bleed rates.”162 In response, Dr. DiBattiste stated, “I completely agree with Bob [Temple]’s

perspective on the potential impact of the INR device issue on efficacy and safety.”163 In my

opinion, an impact on “bleed rates” could affect the safety, and risk/benefit, equation of Xarelto

by FDA, physicians, and patients.

           180.    In a July 6, 2016 reply to a letter to the editor of the NEJM, regarding an article

entitled “Point-of-Care Warfarin Monitoring in the ROCKET AF Trial,” members of the

ROCKET AF Executive Committee, Steering Committee, and Investigators stated as follows:

“However, we acknowledge the limitations of these analyses. To be fully informative, we would

need to provide paired central-laboratory and point-of-care INR values throughout the trial, and

these values are not available.”

           181.    In addition, as discussed above, the EMA also identified limitations in the

analyses performed by the sponsor to assess the impact of the INRatio device on ROCKET.164

           182.    On September 26, 2016, the FDA issued its ROCKET AF Reanalysis Reviews. In

the ‘Summary and Recommendations’ section of the review, FDA provided:

           … Janssen and FDA independently performed a variety of analyses intended to
           characterize the impact of use of the INRatio device on the safety and efficacy
           results of ROCKET.

           … FDA used two mathematical modeling approaches to estimate the clinical
           outcomes results that might have occurred I ROCKET if a more accurate INR
           assay had been used to guide warfarin dosing, i.e., one that [] reported results
           similar to the laboratory-based assay at Duke… Each of these analyses
           predicted a small decrease in the expected rate of major bleeding in the

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      XARELTO_JANSSEN_18607702.
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      XARELTO_JANSSEN_18607702.
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      EMA CHMP Assessment report dated 5 February 2016, pp. 38-41

                                                     78
 Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 80 of 84




       warfarin arm compared to the observed rate of 3.45 events per 100 patient
       years in ROCKET (reductions in the three models ranged from 7% to 10% of
       the observed rate)…. Overall, these estimated reductions in the rates of
       bleeding events in the warfarin arm were small enough so that the benefits of
       rivaroxaban would still outweigh its risks if efficacy were not affected.
       Notably, two of these three analyses also estimated the rate of ischemic stroke,
       and one estaimted the rate of the primary efficacy endpoint of total stroke +
       systemic embolism. Both these models predicted that the rate of ischemic
       stroke would be increase in the warfarin arm, resulting in an expected
       improvement of the efficacy of rivaroxaban relative to warfarin.

               The information summarized above indicates that it is quite likely that
       patients in the warfarin arm of ROCKET unintentionally received higher doses
       of warfarin than they would have received if the INRatio device had provided
       results similar to those provided by the laboratory-based device at Duke.
       However, the effects of this increased intensity of anticoagulation on clinical
       outcomes were likely to have been quite modest. It seems very unlikely that if
       the device had performed similarly to the INR assessment device at Duke, the
       benefit/risk profile of rivaroxaban compared to warfarin would have been
       notably different from the profile based on the observed result of Srocket.
       Accordingly, the conclusion we made in 2011 that the benefits of rivaroxaban
       in patients with non-valvular atrial fibrillation outweigh its risks should not be
       changed.

       183.   The FDA’s ‘Recommendations’ were as follows: “(1) No changes in rivaroxban

labeling to reflect the impact of use of the INRatio device in ROCKET are warranted. No other

major regulatory action should be taken with respect to rivaroxban; (2) Our conclusions

regarding the issues addressed by this review should be communicated to the public in a suitable

manner, but not through any changes in labeling.”

       184.   In regard to the FDA’s recommendation regarding labeling, the FDA added:

       We think that a labeling change to describe the modeling results would [be]
       very difficult to write in a concise manner and might be more likely to confuse
       than to edify, and is not warranted. FDA might make a brief announcement
       regarding our conclusions and make this review or a summary of it available to
       the public online. A publication of our analyses in a journal might be desirable.
       If others think it is important to change labeling, we might add a simple
       statement that FDA has reviewed the INR and outcomes information in
       ROCKET and determined that the effect of use of the INRatio device on
       outcomes in ROCKET was too small to affect our prior conclusion that the
       benefits of rivaroxaban outweigh its risks relative to warfarin.

                                                79
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 81 of 84




IV.         CONCLUSIONS165

            In my opinion:

            185.      Any laboratory test that is helpful in identifying patients at risk for serious

adverse events based upon a patient’s response to a drug should be disclosed in the Warnings and

Precautions section of the drug label.

            186.      Any laboratory tests that could be helpful in identifying patients at increased risk

of bleeding from Xarelto use should be identified in the Warnings and Precautions section of the

drug label.

            187.      There is variability in drug plasma concentration levels in patients taking Xarelto.

            188.      There is a relationship between Xarelto plasma concentration levels and PT.

            189.      As of August 2011, there is a relationship between PT levels and the risk of

bleeding.

            190.      Measuring a PT level in a Xarelto-treated patient can be helpful in identifying

patients at risk for serious adverse events based upon a patient’s response to Xarelto.

            191.      There is a laboratory test to measure PT levels in Xarelto-treated patients.

            192.      While measuring a PT level in a Xarelto-treated patient can be helpful in

identifying patients at risk for serious adverse events based upon a patient’s response to Xarelto,

without additional adequate sponsor-generated clinical trial data exploring Xarelto dose

adjustment based on bleeding risk (as measured by PT), measuring a PT level does not allow a

physician to titrate the dose in such patients. Rather, it allows a physician and a patient to decide

whether the patient should continue Xarelto therapy.

            193.      While FDA originally stated in June 2011 (in its review of the hip and knee

replacement VTE prophylaxis indication) that the predictive value of coagulation parameters for
165
      This list is not meant to be an all-inclusive list. For a full list of opinions, please see the entire report.

                                                                80
  Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 82 of 84




the bleeding risk had not been adequately studied, beginning in August 2011 (in its Clinical

Pharmacology review of the atrial fibrillation indication), the agency stated that there was a

relationship between bleeding risk and PT. Since then, the agency has repeatedly and

consistently cited that relationship.

          194.   While the sponsors proposed language suggesting that if “assessment of the

pharmacodynamic effect of rivaroxaban is considered necessary in individual patients, PT

(measured in seconds) is recommended”166 be included in the Pharmacodynamics section of the

label, they never offered language to include in the Warnings and Precautions section that

suggested that measuring a PT level in a Xarelto-treated patient can be helpful in identifying

patients at risk for serious adverse events based upon a patient’s response to Xarelto.

          195.   The sponsors acknowledged that information about measuring PT could be

helpful in patient care decision-making.

          196.   Based on the preceding sections, the sponsors failed to “identify any laboratory

tests helpful in following the patient’s response or in identifying possible adverse reactions.”

          197.   Nothing in the Act, or in the FDA’s implementing regulations, relieves a

manufacturer of its duty to act prudently in light of the company’s internal knowledge about a

product and its potential risks.

          198.   The two systems of state consumer protection (including potential product

liability) and federal food and drug regulation should and do operate in a complementary but

independent manner.

          199.   The two systems of state consumer protection (including potential product

liability) and federal food and drug regulation should and do operate in a complementary but

independent manner.
166
      XARELTO_JANSSEN_05911809, p. 15.

                                                 81
 Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 83 of 84




        200.    Based in part on the above testimony, information about laboratory tests that

could be helpful in identifying patients at increased risk of bleeding from Xarelto use would be

useful information for physicians in clinical decision-making.

        201.    While Xarelto was shown to be non-inferior to Warfarin with regard to safety and

efficacy in clinical study populations, the sponsors failed to inform physicians and patients that

certain individual patients taking Xarelto were at a demonstrable increased risk for serious

adverse reactions.

        202.    A reasonably prudent drug manufacturer, who knows certain patients are at an

increased risk of serious adverse events relative to others, would inform prescribers of that fact.

        203.    Based on the reasons cited above, the sponsors did not adequately notify

physicians that some patients are at higher risk than others (i.e., inter-patient variability).

        204.    Based on the reasons cited above, the sponsors did not adequately instruct

physicians how to identify those patients (i.e., PT).

        205.    Based on the reasons cited above, the sponsors did not adequately instruct

physicians on how to clinically manage the information (e.g., titrate, discontinue, additional

warnings).

        206.    The sponsors failed to meet their duty of reasonably prudent drug manufacturers

by:

             a. Failing to report discrepant INR values, and associated adverse events, in
                response to the January 12, 2016 FDA Information Request.

             b. Failing to inform FDA about the Covance recheck program in response to the
                January 12, 2016 Information Request.




                                                  82
Case 2:14-md-02592-EEF-MBN Document 5114-13 Filed 01/20/17 Page 84 of 84
